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    1             IN THE UNITED STATES DISTRICT COURT
    2                  SOUTHERN DISTRICT OF FLORIDA
    3    ____________________________________
                                             )
    4    ALEKSEJ GUBAREV, XBT HOLDING S.A., )
         and WEBZILLA, INC.,                 )
    5                                        )
                        Plaintiffs,          )
    6    vs.                                 ) Case No.:
                                             ) 17-CV-60426-UU
    7    BUZZFEED, INC., and BEN SMITH,      )
                                             )
    8                   Defendants.          )
         ____________________________________)
    9
   10
   11
   12
   13                    VIDEOTAPED DEPOSITION OF
   14                          JOCHEM STEMAN
   15                        LIMASSOL, CYPRUS
   16                    WEDNESDAY, MAY 16, 2018
   17                            1:22 P.M.
   18
   19
   20
   21
   22
   23
   24
   25    REPORTED BY: BRENDA MATZOV, CA CSR 9243

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    1               Videotaped deposition of JOCHEM STEMAN,
    2    taken in the above-entitled cause pending in the
    3    United States District Court, Southern District of
    4    Florida, pursuant to notice, before BRENDA MATZOV,
    5    CA CSR 9243, at Elias Neocleous & Co., Neocleous
    6    House, 195 Makarious III Avenue, Floor -1, Limassol,
    7    Cyprus, on Wednesday, the 16th day of May, 2018,
    8    at 1:22 p.m.
    9
   10
   11    APPEARANCES:
   12    FOR PLAINTIFFS:
   13               BOSTON LAW GROUP, PC
                    By: VAL GURVITS, ESQ.
   14               825 Beacon Street
                    Suite 20
   15               Newton Centre, Massachusetts 02459
                    (617) 928-1800 / Fax (617) 928-1802
   16               vgurvits@bostonlawgroup.com
   17
   18    FOR DEFENDANT BUZZFEED, INC.:
   19               DAVIS WRIGHT TREMAINE, LLP
                    By: ALISON SCHARY, ESQ.
   20                    NATHAN SIEGEL, ESQ.
                    1919 Pennsylvania Avenue NW
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                    Washington, DC 20006-3401
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   23               nathansiegel@dwt.com
   24
   25

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    1    APPEARANCES (Continued):
    2    FOR DEFENDANT BUZZFEED, INC.:
    3               DAVIS WRIGHT TREMAINE, LLP
                    By: KATHERINE M. BOLGER, ESQ. (partial)
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                    21st Floor
    5               New York, New York 10020-1104
                    (212) 489-8230 / Fax (212) 489-8340
    6               katebolger@dwt.com
    7
    8    ALSO PRESENT:
    9               ALON MATZOV, Videographer
   10               ALEKSEJ GUBAREV
   11               NIKOLAY DVAS
   12
   13
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           1          LIMASSOL, CYPRUS; WEDNESDAY, MAY 16, 2018
           2                            1:22 P.M.
           3
13:22:41   4               THE VIDEOGRAPHER: This is the beginning
13:22:41   5   of DVD No. 1 in the videotape deposition of Jochem
13:22:49   6   Steman, being taken on May 16th, 2018, at 1:22 p.m.,
13:22:57   7   at Elias Neocleous & Co., Limassol, Cyprus, in the
13:23:03   8   matter of Aleksej Gubarev, et al. versus Buzzfeed,
13:23:07   9   Inc., et al., being heard before the United States
13:23:12 10    District Court, Southern District of Florida,
13:23:16 11    case number 17-CV-60426-UU.
13:23:24 12                I am Alon Matzov. And the court
13:23:26 13    reporter is Brenda Matzov.
13:23:30 14                Would counsel please state their
13:23:31 15    appearances.
13:23:32 16                MS. SCHARY: Alison Schary, of Davis
13:23:33 17    Wright Tremaine, for the defendants. And with
13:23:36 18    me is my colleague Nathan Siegel, also of Davis
13:23:39 19    Wright Tremaine, for the defendants.
13:23:40 20                MR. GURVITS: Val Gurvits, for the
13:23:41 21    plaintiffs and for the deponent.
13:23:42 22                MS. SCHARY: Good afternoon, Mr. Steman.
13:23:46 23                THE VIDEOGRAPHER: One moment.
13:23:47 24                Would the court reporter please swear
13:23:50 25    in or affirm the witness.

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13:23:52   1                         JOCHEM STEMAN,
13:23:52   2         called as a witness, being first duly sworn,
13:23:52   3         was examined and testified as hereinafter
13:23:52   4         set forth.
13:23:52   5
13:24:03   6                           EXAMINATION
13:24:03   7   BY MS. SCHARY:
13:24:03   8         Q.    Good afternoon, Mr. Steman. My name
13:24:07   9   is Alison Schary. I'll be taking your deposition
13:24:09 10    this afternoon.
13:24:10 11                Have you ever been deposed before?
13:24:12 12          A.    No.
13:24:13 13          Q.    Okay. So I just want to go over a
13:24:16 14    couple ground rules. To my right is a court
13:24:17 15    reporter. She'll be taking down everything
13:24:20 16    that we say. It's a little -- it's not a normal
13:24:24 17    conversation because she has to take down both
13:24:26 18    of -- my questions and your responses. Even
13:24:29 19    if you know -- think you know what question I'm
13:24:32 20    asking and what the answer will be, I'd ask you
13:24:34 21    to just wait until I finish my question. And
13:24:38 22    I will wait until you finish your answer. And
13:24:40 23    that way we don't drive the court reporter crazy.
13:24:44 24                Is that okay?
13:24:45 25          A.    Yeah.

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13:24:45   1         Q.    Okay. Great.
13:24:45   2               And that brings me to my second point,
13:24:46   3   which is because, again, we have a court reporter
13:24:48   4   here, you need to answer verbally and not shake
13:24:51   5   your head, nod your head, say "yes," "no" answers
13:24:55   6   that the court reporter can record. Okay?
13:24:58   7         A.    Okay.
13:25:00   8         Q.    I'm going to ask a series of questions.
13:25:03   9   If at any point you don't understand the question,
13:25:05 10    please ask me to rephrase it. Otherwise, I will
13:25:08 11    assume that you do understand the question.
13:25:10 12                Is that okay?
13:25:11 13          A.    Okay.
13:25:12 14          Q.    Okay. Is there any reason that you
13:25:14 15    can't testify fully and truthfully today?
13:25:18 16          A.    No.
13:25:18 17          Q.    Okay. And you said you've never been
13:25:18 18    deposed before.
13:25:19 19                Have you ever been a witness in any
13:25:22 20    civil or criminal case?
13:25:23 21          A.    No.
13:25:24 22          Q.    Have you ever been a party to any
13:25:27 23    civil or criminal case?
13:25:28 24          A.    No. No. Yeah -- no. We had to --
13:25:31 25    I -- I -- my office -- my -- my -- the company

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13:25:35   1   before that came bankrupt, so that was before
13:25:39   2   court because we had to disclose the business --
13:25:42   3   or close the business. That's the only thing
13:25:45   4   that -- way that I was ever been in court. So ...
13:25:47   5         Q.    So -- so just to clarify, you -- you
13:25:51   6   had a business before that was in bankruptcy?
13:25:54   7         A.    Yeah.
13:25:54   8         Q.    And then you had to testify as part
13:25:57   9   of that process; is that correct?
13:26:00 10          A.    Not testify. Only for -- the reason
13:26:02 11    why I was there was because we had to close the
13:26:04 12    business. So that was the only -- this -- only
13:26:07 13    one time that I was even in court was that time.
13:26:10 14          Q.    I see. So you were in court --
13:26:13 15          A.    Yeah.
13:26:13 16          Q.    -- related to the closing --
13:26:14 17          A.    Yeah.
13:26:14 18          Q.    -- of a business?
13:26:15 19          A.    Yeah.
13:26:16 20          Q.    And -- and what business was that?
13:26:19 21          A.    Consultancy own business.
13:26:22 22                (Court reporter clarification.)
13:26:22 23                THE WITNESS: Consultancy with --
13:26:22 24    consultancy for storage companies. So that
13:26:22 25    was a long time ago.

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13:26:23   1         Q.    BY MS. SCHARY: Okay. When was this?
13:26:25   2         A.    Two thousand -- I don't know exactly.
13:26:32   3   But around 2010.
13:26:35   4         Q.    Around 2010.
13:26:36   5               And I'm sorry. Can you repeat the
13:26:38   6   name of the business?
13:26:38   7         A.    DataLogix.
13:26:40   8         Q.    DataLogix. Okay.
13:26:40   9               And that's DataLogix with an "X" at
13:26:43 10    the end?
13:26:44 11          A.    Yeah.
13:26:45 12          Q.    Okay. So, Mr. Steman, what is your
13:26:47 13    current position?
13:26:48 14          A.    I am acting as CEO of Datacenter.com.
13:26:52 15          Q.    CEO of Datacenter.com?
13:26:55 16          A.    Yes.
13:26:55 17          Q.    And how long have you been the CEO
13:26:57 18    of Datacenter.com?
13:27:01 19          A.    I don't it know precisely. But around
13:27:04 20    eighteen months.
13:27:09 21          Q.    Eighteen months.
13:27:10 22                And where is Datacenter.com located?
13:27:13 23          A.    Globally.
13:27:14 24          Q.    Does it have offices -- where does
13:27:15 25    it have offices?

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13:27:17   1         A.    Now we opened Amsterdam. So Amsterdam
13:27:20   2   has an office.
13:27:21   3         Q.    Just in Amsterdam? Or are there other
13:27:22   4   offices?
13:27:23   5         A.    Offices are in Amsterdam and in Cyprus.
13:27:26   6         Q.    Amsterdam and Cyprus.
13:27:27   7               And where are -- where do you -- where
13:27:28   8   are you based?
13:27:30   9         A.    Where I have to be. So in Amsterdam
13:27:32 10    and Cyprus.
13:27:32 11          Q.    Okay. Do you reside in Amsterdam or
13:27:34 12    Cyprus?
13:27:35 13          A.    Cyprus.
13:27:36 14          Q.    Cyprus. Okay.
13:27:38 15                And what does Datacenter.com do?
13:27:46 16          A.    We provide space, power, cooling, and
13:27:49 17    security for hosting providers, club providers,
13:27:52 18    or enterprises. So we only do the -- the building.
13:27:56 19    So we don't do anything with the equipment itself.
13:28:00 20    We are only providing space for other companies
13:28:03 21    to do -- employ their business.
13:28:03 22          Q.    Okay. And do you own the buildings
13:28:05 23    that -- where you provide space to other companies?
13:28:08 24          A.    No. We rent them.
13:28:10 25          Q.    So you rent space from other companies.

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13:28:12   1   And then you sub-lease or you --
13:28:16   2         A.    Yeah.
13:28:16   3         Q.    -- lease that space to other companies
13:28:18   4   who engage with Datacenter.com?
13:28:21   5               Is that correct?
13:28:21   6         A.    That's correct.
13:28:23   7         Q.    Okay. And where do you have facilities
13:28:27   8   for Datacenter.com that you rent out to other
13:28:30   9   companies?
13:28:31 10          A.    At this moment active, Amsterdam. That's
13:28:35 11    active where we now went out at this moment. And
13:28:40 12    we are announcing soon others. But we don't have
13:28:42 13    business at this moment over there.
13:28:42 14          Q.    I'm sorry. What was the second phrase?
13:28:45 15          A.    Amsterdam is open at this moment.
13:28:55 16                (Court reporter clarification.)
13:28:55 17          Q.    BY MS. SCHARY: Yeah, I couldn't hear --
13:28:55 18          A.    Oh, sorry.
13:28:55 19          Q.    -- what you were saying.
13:28:55 20          A.    At this moment, we're running the
13:28:56 21    operation only in Amsterdam.
13:28:57 22          Q.    Okay. And you said you're launching
13:29:00 23    soon in?
13:29:01 24          A.    Other countries.
13:29:02 25          Q.    Other countries. Okay.

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13:29:02   1               What other countries?
13:29:03   2         A.    Dallas, U.S.
13:29:04   3         Q.    Dallas. Okay.
13:29:06   4               Anywhere else besides -- so you are
13:29:09   5   currently in Amsterdam. You'll be launching
13:29:11   6   soon in Dallas.
13:29:13   7               Is there anywhere else on the horizon?
13:29:17   8         A.    Not specific. We -- we -- we try to
13:29:20   9   sell space from another data center in Singapore.
13:29:26 10          Q.    Okay.
13:29:26 11          A.    But we don't have other -- other plans
13:29:27 12    at this moment on short notice. So no.
13:29:28 13          Q.    Okay. And does -- Datacenter.com
13:29:32 14    operates, would you say, data center as a
13:29:36 15    service?
13:29:37 16                Is that something that makes sense
13:29:38 17    to you?
13:29:40 18          A.    If you define "data center as a service"
13:29:42 19    for me, then I can say "yes" or "no." I mean,
13:29:44 20    it's -- it's very vague.
13:29:47 21                MS. SCHARY: Okay. Well, I'm going
13:29:49 22    to mark as Exhibit 1 -- have the court reporter
13:29:54 23    mark Exhibit 1.
13:29:55 24                (Exhibit 1 marked.)
13:29:55 25                MS. SCHARY: Can you give this to him?

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13:29:55   1               THE COURT REPORTER: (Court reporter
13:29:55   2   complies.)
13:30:15   3         Q.    BY MS. SCHARY: The court reporter
13:30:17   4   is handing you what's been marked as Exhibit 1,
13:30:18   5   which is a printout from LinkedIn.com of what
13:30:22   6   I believe is your LinkedIn profile.
13:30:27   7               Can you confirm that's correct?
13:30:29   8         A.    My picture's not on it, but yes. My --
13:30:29   9         Q.    Okay.
13:30:29 10          A.    -- name is on it.
13:30:29 11          Q.    Okay. Does -- does the information
13:30:31 12    reflect what you understand to be your LinkedIn
13:30:34 13    profile?
13:30:35 14          A.    Yes.
13:30:36 15          Q.    Yes. Okay. If you go to the second
13:30:38 16    page, under CEO of Datacenter.com, in the second
13:30:41 17    paragraph, the first line, it says:
13:30:44 18                "With Datacenter.com we will challenge
13:30:46 19    the status quo. We're re-defining data center
13:30:49 20    as a service (DCaaS)."
13:30:52 21                And then it goes on from there.
13:30:55 22                So can you explain to me what you
13:30:57 23    understand "data center as a service" to mean?
13:30:58 24          A.    What I -- what I described before.
13:30:59 25    We deliver square meters, power, cooling, and

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13:31:02   1   security for our -- for the customers inside
13:31:04   2   the data center. That's -- this -- this is
13:31:05   3   our description of "data center as a service."
13:31:06   4               (Court reporter clarification.)
13:31:06   5               THE WITNESS: The square meters, power,
13:31:11   6   cooling, and the security of the data center,
13:31:15   7   that's our definition of the service.
13:31:17   8          Q.   BY MS. SCHARY: So is it kind of like
13:31:17   9   an off-the-shelf data center? You need a data
13:31:19 10    center. You have all the tools. Someone can --
13:31:21 11           A.   It's like a hotel without the beds.
13:31:24 12    But we only provide the space for -- for other
13:31:27 13    companies. Yes.
13:31:27 14           Q.   Okay. And prior to being the CEO of
13:31:32 15    Datacenter.com -- oh, first of all, it says that
13:31:35 16    you started with Datacenter.com in September of
13:31:36 17    2016.
13:31:39 18                Is -- is that accurate?
13:31:44 19           A.   Yes. Yes. We started in September.
13:31:50 20    Yes.
13:31:51 21           Q.   Okay. And what -- what was your
13:31:56 22    position or -- or job prior to being CEO of
13:32:01 23    Datacenter.com?
13:32:02 24           A.   I worked for an American company
13:32:04 25    Brocade --

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13:32:05   1         Q.    Okay.
13:32:05   2         A.    -- as -- as their global account
13:32:08   3   responsible person for all service providers
13:32:11   4   or large service providers in Europe and outside
13:32:15   5   of Europe. So I didn't actually report to --
13:32:15   6   to the U.S.
13:32:17   7         Q.    Okay. And what does Brocade do?
13:32:20   8         A.    Provide network equipment or storage
13:32:21   9   networking equipment to various of -- group of
13:32:25 10    customers from U.S. government to other small
13:32:28 11    companies. So ...
13:32:29 12          Q.    And did you have a particular -- an
13:32:32 13    area? It says you're a "Territory Manager."
13:32:34 14                What was your area?
13:32:36 15          A.    Officially, EMEA. But I had some
13:32:38 16    global customers.
13:32:38 17          Q.    Sorry? Official --
13:32:39 18          A.    Officially, it was Europe.
13:32:41 19          Q.    Oh, EMEA.
13:32:43 20          A.    EMEA. Sorry.
13:32:43 21          Q.    Okay.
13:32:43 22          A.    And -- but I had some global customers.
13:32:45 23          Q.    Okay. And would you say that you were
13:32:47 24    in kind of a sales position?
13:32:50 25          A.    Officially, by their contract, this

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13:32:52   1   is sales position. Because everything is --
13:32:54   2   with all respect, is -- is a sales position
13:32:58   3   because I was responsible for the revenue.
13:32:59   4   So yes, it was a sales position.
13:33:03   5         Q.    Yes, it was a sales position. Okay.
13:33:05   6               And I'm looking at your LinkedIn page.
13:33:07   7   And between the Datacenter.com and the Brocade
13:33:11   8   entry, you have "Entrepreneur" at "private hold
13:33:12   9   company" from 2010 to the present.
13:33:16 10                Can you explain what -- what is the
13:33:19 11    "private hold company" that you're referring
13:33:21 12    to?
13:33:22 13          A.    I'm also available for freelance jobs,
13:33:23 14    if needed. So it's still a company on my name.
13:33:29 15          Q.    Okay.
13:33:29 16          A.    Not acting at this moment. But it's
13:33:29 17    still there.
13:33:30 18          Q.    Okay. And what's the name of the
13:33:31 19    company?
13:33:31 20          A.    Stedumaco, S-t-e-d-u-m-a-c-o, BV.
13:33:39 21    Dutch company.
13:33:40 22          Q.    Okay.
13:33:40 23          A.    I -- I can write.
13:33:41 24          Q.    Okay. And so that's the company by
13:33:44 25    which you offer freelance services?

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13:33:47   1         A.    Yeah.
13:33:47   2         Q.    And what types of services do you offer
13:33:49   3   as a freelancer?
13:33:51   4         A.    Management services.
13:33:52   5         Q.    Management services. Okay.
13:33:54   6               And prior to working with Brocade, what
13:33:59   7   was your position?
13:34:03   8         A.    In the period of -- before, that was
13:34:05   9   the company that was -- came bankrupt. So I was
13:34:07 10    the founder of DataLogix.
13:34:10 11          Q.    Okay. And what did DataLogix do?
13:34:11 12          A.    We sell storage solutions and consultancy
13:34:14 13    to various Dutch companies.
13:34:16 14          Q.    Okay. And prior to founding DataLogix,
13:34:18 15    did you have another position?
13:34:22 16          A.    It's not on the list, so -- yes. Oh,
13:34:26 17    it says "show more," but it does not show more
13:34:29 18    here.
13:34:30 19                But before, I worked for another --
13:34:30 20    another company, building a managed services
13:34:39 21    department for them.
13:34:40 22                (Court reporter clarification.)
13:34:40 23                THE WITNESS: A manged services
13:34:40 24    department. So a new -- it was a company who
13:34:41 25    will start -- started with managed services.

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13:34:43   1   And I created that department -- department
13:34:45   2   for them. So that was my --
13:34:52   3         Q.    BY MS. SCHARY: You create -- sorry.
13:34:52   4               (Court reporter clarification.)
13:34:52   5               THE WITNESS: Okay. Before my time
13:34:53   6   with Brocade, before -- I'm sorry. Before my
13:34:55   7   time of DataLogix, I worked for another company.
13:34:59   8   And for that company, I created a new department,
13:35:02   9   so a new -- new -- new set -- a piece of the
13:35:04 10    company that was performing managed services
13:35:08 11    to other companies.
13:35:09 12          Q.    BY MS. SCHARY: So kind of like
13:35:11 13    consulting?
13:35:12 14          A.    Consulting and remote support. Yeah.
13:35:25 15          Q.    And -- sorry -- what?
13:35:30 16          A.    Remote support.
13:35:30 17          Q.    Renaud? [sic]
13:35:30 18          A.    "Remote support." So we supported
13:35:30 19    customers from a distance.
13:35:30 20          Q.    "Remote support"?
13:35:30 21                MR. SIEGEL: "Remote."
13:35:30 22                THE WITNESS: "Remote support."
13:35:30 23          Q.    BY MS. SCHARY: Remote support. Got
13:35:30 24    it. Okay.
13:35:30 25                And -- sorry. We're going back to

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13:35:31   1   the CEO at Datacenter.com.
13:35:36   2               What's the relationship between
13:35:37   3   Datacenter.com and XBT?
13:35:42   4         A.    We -- we have the same shareholders.
13:35:45   5         Q.    Okay. Does XBT -- is XBT an owner
13:35:49   6   of Datacenter.com?
13:35:51   7         A.    Not that I'm aware of.
13:35:53   8         Q.    Are you an employee of XBT?
13:35:55   9         A.    No.
13:35:55 10          Q.    You're not. Okay.
13:36:01 11                Is -- is Datacenter.com a subsidiary
13:36:04 12    of XBT?
13:36:07 13          A.    Not that I'm aware of.
13:36:08 14          Q.    So it is just a company created by
13:36:12 15    the same people as XBT?
13:36:18 16          A.    As far as I know. But -- I think so.
13:36:27 17    I don't know to be honest. I don't know the
13:36:30 18    whole ways behind each company. So I don't
13:36:36 19    know. I can't give you an answer on that.
13:36:37 20          Q.    Okay. Have you ever held any positions
13:36:39 21    with XBT?
13:36:41 22          A.    I have done for two months a twin job.
13:36:45 23    So from just -- I wasn't working for XBT. Again,
13:36:50 24    I was hired for XBT as CCO, commercial -- commercial
13:36:55 25    officer of XBT.

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13:36:57   1         Q.    And when was that?
13:36:58   2         A.    It was in the first three months,
13:37:00   3   I guess, when I was in Cyprus. So that was --
13:37:03   4         Q.    Which was?
13:37:04   5         A.    That was -- it was in parallel job
13:37:06   6   between CEO, so it stating in your forms. It
13:37:11   7   was at the same time. So Septem -- September
13:37:15   8   2016 and then three or four months afterwards.
13:37:20   9   I don't know exactly.
13:37:22 10          Q.    Do you -- and -- and I understand that
13:37:22 11    that's -- you know, we have an exhibit. But I'm
13:37:24 12    asking you for your recollection. And, presumably,
13:37:27 13    this reflects something that you put together in
13:37:30 14    the first instance.
13:37:32 15                So I don't want you to rely on your
13:37:32 16    LinkedIn page. But if you can tell me -- so
13:37:34 17    you started as chief commercial officer with
13:37:37 18    XBT approximately September 2016.
13:37:40 19                And when did you cease acting as
13:37:44 20    chief commercial officer with XBT?
13:37:46 21          A.    I don't know at this moment. I --
13:37:50 22          Q.    Was it before the end of 2016?
13:37:57 23          A.    When I start acting as CCO of XBT?
13:37:58 24    Before the end of 2016? Yes.
13:38:02 25          Q.    You stopped being C --

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13:38:03   1         A.    Oh, stopped? Oh, stopped?
13:38:04   2         Q.    Yeah. When did --
13:38:04   3         A.    Sorry.
13:38:04   4         Q.    When did you stop?
13:38:04   5         A.    I -- I understood "start." So --
13:38:06   6         Q.    I'm -- I'm sorry. To -- to -- for the
13:38:06   7   record --
13:38:07   8         A.    To be -- to be -- I don't know.
13:38:09   9         Q.    Okay. So for the record, you began
13:38:12 10    as CCO, chief commercial officer, at XBT sometime
13:38:19 11    around the fall of 2016.
13:38:21 12                And you stopped being chief commercial
13:38:25 13    officer at XBT approximately when? I don't need
13:38:34 14    an exact date.
13:38:35 15          A.    I don't know the date. I don't know.
13:38:36 16          Q.    Okay. Are there documents that would
13:38:39 17    help you refresh your memory as to when you ceased
13:38:42 18    being chief commercial officer?
13:38:44 19          A.    I don't know.
13:38:44 20          Q.    Okay. Do you -- when you're -- I assume
13:38:47 21    you receive a paycheck for your -- in your position
13:38:51 22    as CEO of Datacenter.com --
13:38:54 23          A.    No.
13:38:54 24          Q.    -- correct?
13:38:55 25                You do not?

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13:38:56   1          A.   I do not.
13:38:56   2          Q.   How are you compensated for your position?
13:39:00   3          A.   I'm -- I'm hired by the company who
13:39:01   4   is putting me in this position. So I am just
13:39:03   5   an external. I'm -- I'm not working for whole
13:39:06   6   XBT/Datacenter.com. I'm an interim --
13:39:09   7          Q.   You're an --
13:39:09   8          A.   -- position.
13:39:09   9          Q.   -- interim CEO --
13:39:11 10           A.   Yes.
13:39:11 11           Q.   -- at Datacenter.com?
13:39:12 12           A.   Yes.
13:39:12 13           Q.   Okay. So are they paying you for your --
13:39:14 14    as an interim CEO?
13:39:17 15           A.   No. They pay the company where I work
13:39:19 16    for.
13:39:20 17           Q.   I see. And what is the company that
13:39:21 18    you work for?
13:39:22 19           A.   Etelo.
13:39:24 20           Q.   Excuse me?
13:39:24 21           A.   E-t-e-l-o. [sic]
13:39:27 22           Q.   E-t-e-l-o.
13:39:29 23                And what is your position with Etelo?
13:39:30 24    Is that correct?
13:39:34 25           A.   Yeah. Employee.

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13:39:35   1         Q.    And you're an employee?
13:39:35   2               And what does Etelo do?
13:39:38   3         A.    Putting people -- I would say management
13:39:41   4   services. So I'm just rented. I -- I mean, I'm
13:39:45   5   just -- I don't know the right English words. So
13:39:48   6   it's quite -- quite hard to -- to explain. But
13:39:49   7   they hire me. So they hired me to, in this case,
13:39:52   8   Datacenter.com.
13:39:54   9         Q.    Okay. Is -- was it your understanding
13:39:56 10    that you're being hired on a temporary or interim
13:40:00 11    basis?
13:40:00 12          A.    Yeah.
13:40:00 13          Q.    Okay. Is it your understanding that
13:40:03 14    this position will turn into a permanent position?
13:40:07 15          A.    Not that I'm aware of.
13:40:09 16          Q.    Okay. And how long have you been working
13:40:11 17    with Etelo?
13:40:13 18          A.    When I came to Cyprus. So almost one
13:40:16 19    year and nine, ten months.
13:40:18 20          Q.    Okay. So you've been in Cyprus for
13:40:21 21    almost one year and ten months?
13:40:22 22          A.    Yeah.
13:40:23 23          Q.    And why did you move to Cyprus?
13:40:25 24          A.    Because it was an interesting job. So
13:40:27 25    I -- interesting other role. So I -- I decided

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13:40:30   1   to move.
13:40:32   2         Q.    The job being the -- the position with
13:40:35   3   Datacenter.com and XBT?
13:40:37   4         A.    Yeah. Yeah.
13:40:38   5         Q.    That's the reason you moved to Cyprus?
13:40:40   6         A.    Yes.
13:40:40   7         Q.    And why were you moving to Cyprus and
13:40:42   8   not Amsterdam?
13:40:46   9         A.    Because the business was at that moment
13:40:48 10    over here and not in Amsterdam.
13:40:50 11          Q.    Okay. And do you work with Webzilla
13:40:53 12    at all?
13:40:54 13          A.    Webzilla is one of our -- the -- one
13:40:56 14    of the customers of Datacenter.com.
13:40:58 15          Q.    Webzilla is a customer of Datacenter.com?
13:41:01 16          A.    Yes.
13:41:01 17          Q.    And -- so does Webzilla rent -- use
13:41:06 18    Datacenter.com to rent data centers?
13:41:13 19          A.    They rent space from us to put their
13:41:16 20    services in. So that's the only -- that's the
13:41:18 21    relationship as a customer. I mean --
13:41:25 22          Q.    Okay. And -- and who -- when -- if
13:41:26 23    Webzilla is a customer of Datacenter, who are
13:41:29 24    you making deals with on the other side of the
13:41:32 25    table?

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13:41:40   1         A.    Particular people behind Webzilla.
13:41:44   2   I mean, their board.
13:41:48   3         Q.    Okay. Are there other employees of
13:41:49   4   Datacenter.com?
13:41:52   5         A.    I'm not an employee. So yes, there
13:41:54   6   are employees on Datacenter.com.
13:41:56   7         Q.    And as CEO, are you involved in making
13:42:01   8   the deals or -- or the contracts with customers
13:42:04   9   of Datacenter.com?
13:42:09 10          A.    Yes.
13:42:10 11          Q.    And who at Webzilla -- if Webzilla is
13:42:14 12    a customer, who's the representative for Webzilla
13:42:17 13    that Datacenter.com deals with in order to make
13:42:20 14    a contract for space?
13:42:22 15          A.    Their director of The Netherlands.
13:42:23 16          Q.    Their what?
13:42:25 17          A.    Director -- managing director of the --
13:42:26 18    The Netherlands.
13:42:31 19          Q.    Of the? I'm sorry. The last one?
13:42:31 20          A.    So their -- their managing director
13:42:31 21    of Webzilla Netherlands, in -- in The Netherlands,
13:42:34 22    in Holland.
13:42:34 23          Q.    Okay. And -- and who is that?
13:42:38 24          A.    Mr. Mishra.
13:42:42 25          Q.    Mr. Mishra?

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13:42:44   1          A.   (Witness nods head in the affirmative.)
13:42:44   2          Q.   Okay. And how did you come to learn
13:42:49   3   of the job with XBT and Datacenter.com?
13:42:55   4          A.   I don't understand the question.
13:42:57   5          Q.   You said it was a good opportunity and
13:42:59   6   that's why you moved to Cyprus.
13:43:01   7               How did you first learn of this position
13:43:03   8   and this offer?
13:43:06   9          A.   I'm doing my whole life building or
13:43:11 10    departments or companies. So this was building
13:43:13 11    something new. So I'm always open for something
13:43:16 12    new.
13:43:17 13           Q.   Did somebody at XBT or Webzilla contact
13:43:19 14    you directly and ask you to join the company as
13:43:24 15    interim CEO?
13:43:29 16           A.   I'm not sure if it is one person in
13:43:31 17    specific. But we had contact -- Mr. Gubarev
13:43:34 18    we had contact -- I had contact with. But also
13:43:37 19    in my former -- no. Yeah, Mr. Gubarev contacted
13:43:45 20    me -- or not contacted me. We -- we came to
13:43:47 21    speak. So it is not really -- it was like a
13:43:50 22    natural process. So it was not a "we have a
13:43:51 23    job" and -- so yeah. I don't know how to explain
13:43:57 24    it in a -- in a right way, to translate it for
13:43:59 25    myself.

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13:44:13   1               I came in contact with the people
13:44:16   2   within this -- in this case, XBT or the people
13:44:19   3   behind Datacenter.com. And they asked me. So
13:44:22   4   yes, for that reason I joined.
13:44:24   5         Q.    Okay. And to -- to kind of back up
13:44:26   6   a little, when did you first meet Mr. Gubarev?
13:44:31   7         A.    I don't know exactly.
13:44:33   8         Q.    Was it five years ago?
13:44:35   9         A.    Could be.
13:44:35 10          Q.    Was it more than five years ago?
13:44:37 11          A.    I don't know.
13:44:37 12          Q.    And how did you -- well, what was the
13:44:38 13    circumstances of you first meeting Mr. Gubarev?
13:44:41 14          A.    As a customer.
13:44:42 15          Q.    As a customer of what company?
13:44:44 16          A.    Brocade.
13:44:45 17          Q.    Of Brocade. So Mr. Gubarev was
13:44:48 18    a customer of Brocade.
13:44:49 19                And was he one of your customers
13:44:53 20    in your position?
13:44:54 21          A.    Yes.
13:44:54 22          Q.    Okay. And were -- did you have
13:44:57 23    a professional relationship? Did you become
13:45:00 24    friends?
13:45:03 25          A.    It was a professional relationship.

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13:45:06   1         Q.    Professional relationship.
13:45:09   2               And at what -- how long was Mr. Gubarev
13:45:11   3   a client of Brocade?
13:45:14   4         A.    I don't know precisely.
13:45:16   5         Q.    And when did he first start speaking
13:45:18   6   to you about the potential of joining his company?
13:45:21   7         A.    I don't know anymore. I don't know.
13:45:25   8         Q.    Was -- did you have conversations by
13:45:29   9   e-mail or by phone?
13:45:41 10          A.    I cannot -- I think both. But to be
13:45:50 11    honest -- no, not -- no, let me think. I think
13:45:58 12    both e-mail and phone. But I don't know exactly
13:46:02 13    anymore.
13:46:03 14          Q.    And how did Mr. Gubarev describe the
13:46:06 15    position that he wanted you to take with the
13:46:09 16    companies when he first asked you?
13:46:13 17          A.    Building the company scratch -- from
13:46:16 18    scratch, a new company. So it was nothing when
13:46:19 19    I started.
13:46:20 20          Q.    And the new company was Datacenter.com?
13:46:22 21          A.    Yeah.
13:46:23 22          Q.    Okay. And did XBT already own the
13:46:27 23    domain name at that point?
13:46:31 24          A.    Yes.
13:46:33 25          Q.    And what is your -- what are your

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13:46:36   1   day-to-day responsibilities as CEO?
13:46:38   2         A.    Building the company from scratch.
13:46:49   3   I mean hiring people, finding new customers,
13:46:54   4   arranging, yeah, everything in and around
13:46:57   5   Datacenter.com. That's my responsibility
13:47:03   6   and day-to-day job. So if -- if something
13:47:05   7   happens, then I -- I know.
13:47:09   8         Q.    Well, the company started -- you came
13:47:10   9   on in -- in early September.
13:47:15 10                So how many employees do you have at
13:47:16 11    this point?
13:47:19 12          A.    I don't have employees. Datacenter.com
13:47:21 13    has employees.
13:47:22 14          Q.    How many -- approximately how many
13:47:24 15    employees does Datacenter.com have?
13:47:28 16          A.    Four.
13:47:30 17          Q.    Four employees.
13:47:30 18                And approximately how many customers
13:47:33 19    does Datacenter.com have?
13:47:35 20          A.    I don't know exactly.
13:47:36 21          Q.    And you said that you are paid by
13:47:39 22    Datacenter.com to your -- your agency or your
13:47:43 23    company Etelo?
13:47:45 24          A.    No, I didn't say that it was my company.
13:47:49 25          Q.    You are employed by the company Etelo;

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13:47:51   1   is that correct?
13:47:51   2         A.    Yes.
13:47:52   3         Q.    And you are compensated directly by --
13:47:56   4   Etelo? It pays your paycheck; is that correct?
13:47:58   5         A.    That's correct.
13:48:00   6         Q.    And does Datacenter.com pay Etelo for
13:48:02   7   them to pay you?
13:48:04   8         A.    Yes.
13:48:09   9         Q.    Okay. Do you know how much Datacenter.com
13:48:11 10    pays Etelo for your services?
13:48:15 11          A.    Yes.
13:48:16 12          Q.    And how much is that?
13:48:18 13          A.    Around 12,000 euros.
13:48:22 14          Q.    Per month? Per year?
13:48:24 15          A.    A month.
13:48:24 16          Q.    Per month. Okay.
13:48:25 17                And is that how much you are compensated
13:48:28 18    by Etelo?
13:48:29 19          A.    No.
13:48:29 20          Q.    And how much are you paid?
13:48:36 21          A.    Around four.
13:48:38 22          Q.    And that's -- 4,000 euros per month is --
13:48:41 23    is your compensation?
13:48:44 24          A.    (Witness nods head in the affirmative.)
13:48:45 25          Q.    Okay. Mr. Steman, are you represented

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13:48:55   1   by counsel here today?
13:48:56   2         A.    Yes, I am.
13:48:57   3         Q.    And is your counsel Mr. Gurvits?
13:48:59   4         A.    Yes.
13:48:59   5         Q.    And what did you do to prepare for
13:49:01   6   this deposition today?
13:49:04   7         A.    We had a small talk before.
13:49:06   8         Q.    Today?
13:49:07   9         A.    Yesterday.
13:49:08 10          Q.    Yesterday.
13:49:08 11                And approximately how long did you speak?
13:49:12 12          A.    Thirty minutes -- an hour.
13:49:15 13          Q.    Did you look at any documents?
13:49:20 14          A.    No, not -- no -- yes, I looked at one
13:49:22 15    document because -- and it was my own document,
13:49:24 16    by the way. It was an e-mail.
13:49:26 17          Q.    I'm sorry? Can you --
13:49:27 18          A.    I -- I -- yeah, I checked one document.
13:49:28 19          Q.    And what document was that?
13:49:30 20          A.    My e-mail to HK Strategies.
13:49:37 21          Q.    HK Strategies?
13:49:38 22          A.    Yeah.
13:49:39 23          Q.    What was the subject of that e-mail?
13:49:41 24          A.    I don't know really. Because it was
13:49:42 25    a Dutch e-mail and was two questions about what

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13:49:43   1   is standing over here. So --
13:49:46   2               (Court reporter clarification.)
13:49:46   3               THE WITNESS: It was more about --
13:49:47   4   there were five sentences on it. And I don't
13:49:51   5   know precisely anymore what's -- what's in there.
13:49:53   6   So it's quite hard to ...
13:49:59   7         Q.    BY MS. SCHARY: Okay. Datacenter.com's
13:50:03   8   customers, what types of -- what types of industries
13:50:07   9   are they in?
13:50:10 10          A.    All. I mean finance, gaming, enterprises,
13:50:14 11    providers, carriers, various.
13:50:19 12          Q.    And are they all companies as opposed
13:50:20 13    to individuals?
13:50:22 14          A.    We don't support private persons.
13:50:25 15          Q.    Okay. So it's all B2B?
13:50:29 16          A.    All B2B.
13:50:29 17          Q.    Okay. And are these large companies?
13:50:31 18    Small companies? Medium size?
13:50:34 19          A.    From -- various sizes. So we support
13:50:37 20    from small to -- to big.
13:50:39 21          Q.    And when a new customer comes in, do
13:50:42 22    you -- do you learn about their business?
13:50:43 23          A.    Sometimes.
13:50:45 24          Q.    Is there -- is there a procedure that
13:50:50 25    you follow for every customer? Or is each one

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13:50:53   1   different?
13:50:53   2         A.    No. There is a procedure.
13:50:57   3         Q.    There is a procedure?
13:50:57   4         A.    Of course.
13:50:57   5         Q.    Okay. Can you describe the procedure
13:50:59   6   for a new customer?
13:51:00   7         A.    I don't have the -- I -- I don't know.
13:51:00   8   Because my team is taking care of on-boarding
13:51:04   9   customers. So no, I can't.
13:51:06 10          Q.    Okay. Are there written procedures?
13:51:10 11          A.    I don't know. But -- I don't know.
13:51:13 12          Q.    And are those procedures specific to
13:51:17 13    Datacenter.com? Or are these procedures that
13:51:19 14    are used by other businesses that were created
13:51:25 15    by the XBT founders?
13:51:27 16          A.    Specifically Datacenter.com, specific
13:51:30 17    business.
13:51:38 18          Q.    Mr. Steman, what -- what devices do
13:51:42 19    you use for business communications?
13:51:45 20          A.    E-mail. Phone.
13:51:46 21          Q.    E-mail and phone?
13:51:47 22          A.    Yes.
13:51:47 23          Q.    And for your e-mail, do you have --
13:51:49 24    what e-mail -- what work e-mail addresses do
13:51:52 25    you have?

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13:51:54   1         A.    Datacenter.com.
13:51:55   2         Q.    Okay.
13:51:56   3         A.    My time as CCO, I also had Servers.com
13:52:03   4   and XBT.com.
13:52:04   5         Q.    What was the first one?
13:52:07   6         A.    Datacenter.com.
13:52:08   7         Q.    Sure.
13:52:08   8         A.    That's the first one. And Servers.com
13:52:09   9   and XBT.com.
13:52:13 10          Q.    Okay. And the XBT.com and Servers.com,
13:52:15 11    was that only while you served as CCO?
13:52:22 12          A.    I don't know if they still exist. I
13:52:23 13    don't know.
13:52:23 14          Q.    Do you -- have you used them recently?
13:52:27 15          A.    Not that I'm aware of. So I don't
13:52:28 16    know.
13:52:29 17          Q.    Do you still have access to them?
13:52:33 18          A.    I don't know. I don't know.
13:52:37 19          Q.    Did you ever have a separation agreement
13:52:39 20    with XBT or Servers when you ceased being CCO?
13:52:46 21          A.    Not that I'm aware of.
13:52:48 22          Q.    Was your compensation different when
13:52:49 23    you moved from being CCO of Servers and XBT to
13:52:54 24    becoming CEO of Datacenter.com?
13:53:02 25          A.    To who? I mean, how --

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13:53:03   1         Q.    Comp -- your compensation?
13:53:04   2         A.    My compensation?
13:53:05   3         Q.    Yes.
13:53:06   4         A.    No. It didn't change. No.
13:53:08   5         Q.    Okay. Do you know if the amount paid
13:53:11   6   to your company was different?
13:53:12   7               And by -- sorry. I apologize.
13:53:14   8               Do you know if the amount paid to Etelo
13:53:17   9   is different?
13:53:18 10          A.    I don't know. I don't -- I don't know.
13:53:22 11          Q.    And beyond your e-mail and phone, do
13:53:24 12    you ever communicate for business via text message?
13:53:31 13          A.    Yes. We use -- yes.
13:53:34 14          Q.    Okay. What about Facebook?
13:53:36 15          A.    We all use -- all kind of communication
13:53:40 16    channels are used nowadays. So yes.
13:53:43 17          Q.    Okay. And when I say communicate
13:53:43 18    for business, I'm not -- I'm not talking about
13:53:46 19    Facebook posts, you know, publicly.
13:53:48 20                Do you use Facebook messaging to
13:53:50 21    communicate with other -- either with customers
13:53:52 22    or with colleagues?
13:53:58 23          A.    Yes.
13:53:58 24          Q.    Okay. What about WhatsApp?
13:54:01 25          A.    Yes.

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13:54:02   1         Q.    What about Jabber?
13:54:06   2         A.    Not that I'm aware of.
13:54:08   3         Q.    What about Telegram?
13:54:09   4         A.    Not that I'm aware of.
13:54:11   5         Q.    Is there any messaging service that
13:54:12   6   I have not listed that you use?
13:54:14   7         A.    Oh, for sure. I don't know -- for
13:54:16   8   sure, but I don't know which one. I mean, we
13:54:19   9   are using that many social media channel to --
13:54:22 10    to talk with potential customers that I cannot
13:54:25 11    name them all at this moment. I don't know.
13:54:26 12          Q.    What -- what's your go-to messaging
13:54:26 13    system?
13:54:27 14          A.    WhatsApp.
13:54:30 15          Q.    WhatsApp. Okay.
13:54:31 16                Shifting gears a bit, tell me a little
13:54:35 17    bit about your duties during the time that you
13:54:38 18    served as chief commercial officer for XBT.
13:54:43 19          A.    It was the first month. And in the
13:54:46 20    first month, my -- my primary objective was to --
13:54:47 21    to know the company. I mean, it's quite hard
13:54:50 22    to get in a company and act like a role without
13:54:54 23    knowing the -- know -- knowing the company very
13:54:56 24    well. So that was my first period of time.
13:55:00 25                But at the same time, I was also

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13:55:02   1   preparing for the whole Datacenter.com. And --
13:55:02   2   and those two together was -- was no option. So
13:55:07   3   I had to split. It was impossible to be "and/and."
13:55:10   4   I mean, they are both full -- more than full-time
13:55:15   5   jobs. So you cannot combine them.
13:55:20   6          Q.   So let me -- let me just try to understand
13:55:21   7   here.
13:55:22   8               So you're -- the offer and the reason
13:55:23   9   you moved to Cyprus was this opportunity with
13:55:27 10    Datacenter.com; correct?
13:55:27 11           A.   Yeah.
13:55:28 12           Q.   And when you first came on, though,
13:55:31 13    you came on not only as CEO of Datacenter.com
13:55:35 14    but also as chief commercial officer of XBT
13:55:39 15    and -- and of other companies in addition to
13:55:41 16    XBT?
13:55:42 17                Did you say Servers as well?
13:55:45 18           A.   No. I came for XBT.
13:55:46 19           Q.   So you were both the CCO of XBT and
13:55:48 20    the CEO of Datacenter.com at the same time?
13:55:51 21           A.   Yes.
13:55:51 22           Q.   Okay. And you said your first month
13:55:57 23    at -- you were just learning the company.
13:55:59 24                And -- and what company was that? Is
13:56:01 25    that XBT specifically?

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13:56:03   1         A.    Yes. The -- the line of business I
13:56:04   2   came from -- from networking, I mean, you need
13:56:08   3   to know where we are talking about before we
13:56:11   4   even can start selling it. So the first period
13:56:14   5   was -- was one -- was to know -- to know the
13:56:17   6   business.
13:56:17   7               And the other one was preparing the
13:56:19   8   whole Datacenter.com company to -- how to set
13:56:25   9   up. So, I mean, that was my day-to-day job
13:56:28 10    at that moment.
13:56:29 11          Q.    So Datacenter.com had not launched
13:56:31 12    yet; correct?
13:56:33 13          A.    How do you mean "launched"?
13:56:37 14          Q.    Was it a -- what is -- was it a company
13:56:39 15    that had customers?
13:56:40 16          A.    No.
13:56:41 17          Q.    Okay. And when did it become a company
13:56:46 18    with customers?
13:56:48 19          A.    I don't know precisely.
13:56:49 20          Q.    Okay. Was there a press release when
13:56:56 21    it was launched?
13:57:01 22          A.    The facility in Amsterdam? Of -- how --
13:57:02 23    how do you mean this question?
13:57:04 24          Q.    Well, you said you set up a new company
13:57:06 25    and you built it from scratch.

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13:57:07   1               And so I'm trying to understand when did
13:57:08   2   that company become a going concern, operational,
13:57:12   3   open for business?
13:57:18   4         A.    I still don't get it. Because open for
13:57:21   5   business and, for instance, building a company are
13:57:24   6   two separate things. I mean, building -- before
13:57:26   7   a building is open, if you're going to build a
13:57:28   8   building, it takes months. And during that process
13:57:30   9   of building, you need -- there is a lot of work to
13:57:33 10    do.
13:57:34 11                So, again, what specifically the question?
13:57:38 12    Is it when did you open the data center? Or is the
13:57:41 13    question: When did you start building the company?
13:57:43 14          Q.    Why don't we take those one at a time.
13:57:44 15                When did you start building the company?
13:57:45 16          A.    When I joined the company.
13:57:46 17          Q.    So in September of 2016?
13:57:48 18          A.    Yes.
13:57:48 19          Q.    When did you open the data center?
13:57:50 20          A.    End of this -- end of last year, end
13:57:53 21    of 2017.
13:57:54 22          Q.    End of 2017.
13:57:56 23                When did you -- so did Datacenter.com
13:58:00 24    acquire customers prior to the -- the facility
13:58:03 25    being opened?

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13:58:04   1         A.    Of course.
13:58:05   2         Q.    Because you were renting space in other
13:58:07   3   facilities; is that right?
13:58:08   4         A.    We sold already pre -- we already sold
13:58:13   5   space before we even get opened. So yes.
13:58:16   6         Q.    So you were selling the space in the
13:58:18   7   new data center that was not yet opened?
13:58:20   8         A.    Yes.
13:58:21   9         Q.    But you were not yet providing the
13:58:23 10    space as a -- as an operational facility?
13:58:25 11          A.    Yes.
13:58:26 12          Q.    Okay. And the -- when you said you
13:58:28 13    were opening a data center, I think you had told
13:58:31 14    me previously that you didn't own a data center?
13:58:34 15          A.    Uh-huh.
13:58:34 16          Q.    So do you not own the data center that
13:58:35 17    you were opening?
13:58:35 18          A.    No, it's not our -- not our data center.
13:58:38 19    But in a way of speaking, we opening -- we --
13:58:40 20    we -- we're providing the service to our customers.
13:58:45 21    So we are telling the market or -- that we are
13:58:48 22    providing data center service to our customers.
13:58:50 23    So we opened a data center facility. I didn't
13:58:54 24    say that it was our facility. We are renting
13:58:56 25    the facility.

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13:58:57   1         Q.    I see. So, like, if you open your
13:58:59   2   offices but you don't own the building? Okay.
13:59:01   3         A.    Yes.
13:59:01   4         Q.    And how big is this facility?
13:59:06   5         A.    10,000 square meters.
13:59:07   6         Q.    And are there any other companies that
13:59:10   7   use the same facility as their data center?
13:59:12   8         A.    No.
13:59:13   9         Q.    So it's exclusively for Datacenter.com?
13:59:15 10          A.    Yes.
13:59:15 11          Q.    Okay. And you said you -- you weren't
13:59:21 12    sure how many customers.
13:59:22 13                But, you know, as CEO, what is your
13:59:24 14    general ballpark understanding? We're talking
13:59:26 15    10 customers? 10,000 customers?
13:59:29 16          A.    I don't know.
13:59:30 17          Q.    Is it somewhere more than 10 customers?
13:59:33 18          A.    I don't want to guess. I don't know.
13:59:34 19          Q.    So as CEO, you have no idea how many
13:59:38 20    customers your company has?
13:59:40 21          A.    Exactly? No.
13:59:41 22          Q.    You do not?
13:59:42 23          A.    No.
13:59:42 24          Q.    Okay. And, again, going back to your
13:59:46 25    time as chief commercial officer, what were your

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13:59:51   1   duties as chief commercial officer at XBT?
13:59:56   2         A.    To see where we could expand businesses.
14:00:01   3   I mean, I came from -- from a big American company
14:00:04   4   with an American way of doing business. So I just
14:00:06   5   see if that model also could work and -- and if
14:00:08   6   it also could work with the same kind of customers
14:00:12   7   as XBT, so more enterprise focused.
14:00:15   8         Q.    So were you looking at expanding the
14:00:19   9   public profile of XBT?
14:00:21 10          A.    No. Because I didn't -- no.
14:00:23 11          Q.    Were you working on trying to understand
14:00:27 12    new areas of development of business for XBT?
14:00:33 13          A.    Yes.
14:00:36 14          Q.    Was there someone who held the position
14:00:39 15    of chief commercial officer before you arrived?
14:00:39 16          A.    Not that I'm aware of.
14:00:39 17          Q.    So the position was created for you?
14:00:43 18          A.    Yes.
14:00:44 19          Q.    To your understanding, does somebody
14:00:46 20    hold that position now that you are no longer
14:00:51 21    chief commercial officer?
14:00:52 22          A.    Not that I'm aware of.
14:00:55 23          Q.    Mr. Steman, did there come a time when
14:00:57 24    you retained -- or XBT or Webzilla retained Hill &
14:01:01 25    Knowlton, HK Strategies?

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14:01:07   1         A.    Sorry. I don't understand the question.
14:01:09   2         Q.    You mentioned before that you had looked
14:01:11   3   at a document, an e-mail with HK Strategies?
14:01:14   4         A.    Yes.
14:01:15   5         Q.    So you understand that there came
14:01:17   6   a time when you were interacting with people
14:01:19   7   from HK Strategies?
14:01:21   8         A.    Yes.
14:01:22   9         Q.    Were you the one who made the decision
14:01:24 10    to hire HK Strategies?
14:01:27 11          A.    I didn't make the decision. No.
14:01:29 12          Q.    Did you make the decision to initially
14:01:31 13    reach out to HK Strategies?
14:01:33 14          A.    Yes, I did.
14:01:34 15          Q.    And how did you decide to reach out
14:01:37 16    to HK Strategies?
14:01:39 17          A.    How? Google.
14:01:41 18          Q.    Why did you decide to reach out to
14:01:43 19    HK Strategies?
14:01:44 20          A.    Because I received a phone call on
14:01:46 21    Thursday night by my brother that the company
14:01:49 22    linked it to XBT. And XBT were in Dutch news
14:01:50 23    on the television.
14:01:53 24                So I received calls from The Netherlands
14:01:55 25    where our name was publicly named on the -- by --

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14:02:01   1   by journalists. And at that point -- that's the
14:02:04   2   commercial part of my role -- we didn't had any
14:02:09   3   PR or that kind of -- of knowledge in -- in-house.
14:02:11   4   So the first thing what I did was looking for
14:02:15   5   someone who could advise us. So that is the
14:02:18   6   reason why we came to HK.
14:02:20   7         Q.    And your brother lives in The Netherlands?
14:02:23   8         A.    Yeah, he did.
14:02:23   9         Q.    Okay. So your brother called and said
14:02:24 10    that he had seen --
14:02:24 11          A.    You have to -- you have to watch
14:02:26 12    television. Oh, sorry.
14:02:27 13          Q.    I'm sorry. Let me -- let me just finish
14:02:29 14    my question first for the -- for the record.
14:02:30 15                So you received a call from your brother
14:02:33 16    that there was coverage in the Dutch press about
14:02:36 17    XBT and -- is that what you were telling me?
14:02:40 18          A.    Yeah.
14:02:40 19          Q.    Okay. And as a result of that call,
14:02:42 20    you did a Google search. And you came up with --
14:02:46 21    with -- with HK Strategies, and you contacted
14:02:49 22    them.
14:02:50 23                Is that correct?
14:02:50 24          A.    Yes.
14:02:50 25          Q.    Okay. And you said that you did not

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14:02:54   1   have any PR in-house at the time?
14:02:58   2         A.    No.
14:02:59   3         Q.    Okay. And HK Strategies was --
14:03:00   4   specifically had expertise in -- in The
14:03:05   5   Netherlands; correct?
14:03:05   6         A.    I -- in this case, yes. But I -- yes.
14:03:10   7               MS. SCHARY: Okay. I'm going to mark
14:03:15   8   as Exhibit 2 -- I'm going to mark as Exhibit 2
14:03:30   9   a document that has the Bates stamp P-P000612.
14:03:34 10    I'll ask the court reporter to mark that and
14:03:38 11    hand it to the witness.
14:03:39 12                (Exhibit 2 marked.)
14:03:47 13                MR. GURVITS: Can we take a quick
14:03:49 14    bathroom break?
14:03:53 15                MS. SCHARY: Sure. Yes.
14:03:56 16                THE VIDEOGRAPHER: Going off the record
14:03:58 17    at 2:03.
14:04:01 18                (Recess from 2:03 p.m. to 2:11 p.m.)
14:11:45 19                THE VIDEOGRAPHER: Back on the record
14:11:46 20    at 2:11.
14:11:50 21          Q.    BY MS. SCHARY: Mr. Steman, you said
14:11:52 22    that you -- we talked before about how you were --
14:11:55 23    you're employed by Etelo and you were working
14:11:59 24    with Datacenter.com through Etelo.
14:12:00 25                Are you an officer in any other companies

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14:12:04   1   other than Datacenter.com currently?
14:12:08   2         A.    I held some companies still in my name,
14:12:11   3   Dutch companies. Yes.
14:12:13   4         Q.    Okay. And what companies are those?
14:12:16   5         A.    I named you before, Stedumaco.
14:12:19   6         Q.    Uh-huh.
14:12:19   7         A.    Dutch Founders.
14:12:24   8         Q.    Dutch Farmish?
14:12:24   9         A.    "Founders."
14:12:24 10          Q.    "Founders."
14:12:24 11          A.    And DataLogix Group.
14:12:30 12          Q.    And DataLogix Group.
14:12:30 13                And that's the one that went through
14:12:32 14    the bankruptcy?
14:12:33 15          A.    No. That was DataLogix.
14:12:34 16          Q.    Was this a successor to DataLogix?
14:12:38 17          A.    No. We -- because we started that
14:12:40 18    company -- we were trying to -- to make an --
14:12:43 19    a re-start with the same company. So we already
14:12:46 20    started the company. So it's all -- it's an
14:12:48 21    empty shell.
14:12:50 22          Q.    And is your work with those companies
14:12:53 23    through Etelo --
14:12:54 24          A.    No. No.
14:12:54 25          Q.    -- or direct?

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14:12:55   1         A.    I'm -- I'm only the shareholder of
14:12:58   2   those companies. So there's no any activities
14:13:00   3   within those companies.
14:13:01   4         Q.    Okay. Are you the officer in any
14:13:05   5   other companies besides Datacenter.com through
14:13:08   6   your relationship with Etelo?
14:13:11   7         A.    No.
14:13:13   8         Q.    And how long have you been working
14:13:14   9   with Etelo?
14:13:16 10          A.    Almost -- I don't know exactly. I
14:13:21 11    don't know exactly.
14:13:22 12          Q.    Were you the officer in any company
14:13:25 13    through Etelo prior to working with XBT?
14:13:29 14          A.    No.
14:13:30 15          Q.    And did you join Etelo at approximately
14:13:34 16    the same time as you became the CCO of XBT?
14:13:43 17          A.    When I was hired to XBT? Yes.
14:13:46 18          Q.    Okay. And where is Etelo based?
14:13:48 19          A.    Cyprus.
14:13:49 20          Q.    In Cyprus.
14:13:52 21                So you moved to Cyprus -- when you
14:13:56 22    moved to Cyprus, were you already an employee
14:13:59 23    of Etelo?
14:14:05 24          A.    I don't know exactly. I don't know.
14:14:08 25          Q.    Did you become an employee of Etelo

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14:14:11   1   specifically to take the job with XBT and
14:14:14   2   Datacenter.com?
14:14:16   3         A.    Yes.
14:14:18   4         Q.    Did Mr. Gubarev ask you to work with
14:14:23   5   Etelo?
14:14:23   6         A.    No.
14:14:24   7         Q.    How did you decide to work with Etelo?
14:14:31   8         A.    Feeling. I don't know. So I don't
14:14:37   9   really understand the question: "How did you
14:14:40 10    decide to work with Etelo?" I mean, I needed
14:14:43 11    a management company who could do -- so just --
14:14:46 12    just available. I don't know. I mean, I don't
14:14:50 13    know that feeling at -- at that moment. I don't
14:14:53 14    know why I made that decision to this move. So
14:14:57 15    I don't know.
14:14:57 16          Q.    Why do you work with Etelo rather than
14:15:01 17    working directly for XBT or Datacenter.com?
14:15:06 18          A.    Because this was the construction we
14:15:10 19    agreed to.
14:15:12 20          Q.    Who's "we"?
14:15:13 21          A.    I with Etelo versus XBT at that moment.
14:15:18 22    Because that was a temporary job. It's a contract
14:15:22 23    for a fixed period.
14:15:24 24          Q.    So you had a contract for a temporary
14:15:26 25    job. And you knew of that temporary job before

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14:15:31   1   joining Etelo?
14:15:32   2         A.    It -- I don't know exactly.
14:15:35   3         Q.    I'm just trying to figure out -- it --
14:15:38   4   it sounds to me -- what you've told me is that
14:15:39   5   you were approached for this job by Mr. Gubarev,
14:15:43   6   who was a client of yours at Brocade. And you
14:15:46   7   had this great opportunity to come to Cyprus.
14:15:49   8         A.    Uh-huh.
14:15:49   9         Q.    And you moved to Cyprus to take this
14:15:51 10    job with XBT. But at the same time, you joined
14:15:54 11    this agency that now is taking a significant
14:15:58 12    portion of what you're paid.
14:16:01 13                So I'm trying to understand why Etelo
14:16:04 14    is part of this relationship?
14:16:05 15          A.    Because it is a temporary job. It is
14:16:09 16    not -- this is just -- just the construction how
14:16:12 17    it works with a lot of companies. So this is how
14:16:15 18    we work. So there is no specific reason why it
14:16:18 19    is this way.
14:16:20 20          Q.    So you needed to join Etelo in order
14:16:23 21    to take a temporary job with XBT?
14:16:26 22          A.    I don't say that. I mean, I joined
14:16:39 23    Etelo to work for XBT.
14:16:43 24          Q.    To your knowledge, are there other
14:16:46 25    people working with XBT or Datacenter.com or

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14:16:50   1   Webzilla who also work with Etelo?
14:16:53   2         A.    I don't know.
14:16:53   3               MS. SCHARY: Okay. We're going to look
14:16:56   4   at Exhibit 2, which I believe is in front of you,
14:17:00   5   and Exhibit 3. Exhibit 3 is -- it bears the Bates
14:17:04   6   stamp P-C, four zeros, 76. And Exhibit 2 is the
14:17:12   7   one that ends in 612.
14:17:14   8               (Exhibit 3 marked.)
14:17:14   9         Q.    BY MS. SCHARY: Do you have those both
14:17:15 10    in front of you, Mr. Steman?
14:17:40 11          A.    (Examining.) I have only one document.
14:17:43 12          Q.    You only have 2. This is 3. The court
14:17:43 13    reporter --
14:17:43 14                MR. GURVITS: Which one has 612?
14:17:43 15                MS. SCHARY: 612 is Exhibit 2 and --
14:17:43 16                (Court reporter clarification.)
14:17:43 17                MR. GURVITS: Just pass it over to him
14:17:43 18    and he'll hand it to me. This way --
14:17:43 19                MS. SCHARY: Okay.
14:17:43 20                MR. GURVITS: -- Nathan won't have to
14:17:43 21    run back and forth.
14:17:43 22                MS. SCHARY: Even better. I should
14:17:44 23    have figured that out at the last deposition.
14:17:47 24                MR. GURVITS: Thanks. It's a copy
14:17:47 25    of what you have.

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14:17:47   1               THE WITNESS: Yeah. Oh, okay.
14:17:47   2         Q.    BY MS. SCHARY: Okay. So first, I'm
14:17:48   3   going to direct your attention to Exhibit 2.
14:17:51   4         A.    Yes.
14:17:52   5         Q.    And you'll see the bottom e-mail is
14:17:54   6   from an Ingo -- I'm going to butcher the name --
14:17:58   7   H-e-i-j-n-e-n at HK -- "hkstrategies.com"?
14:18:01   8         A.    Yes.
14:18:03   9         Q.    And this is in response to your request
14:18:06 10    to HK Strategies; is that correct?
14:18:07 11          A.    (Examining.) This is original, the
14:19:02 12    e-mail?
14:19:03 13          Q.    I'm -- I'm just asking if the bottom
14:19:05 14    e-mail -- it says:
14:19:06 15                "Dear Jochem. Thank you for the call
14:19:10 16    just now." (As read.)
14:19:11 17          A.    Yeah.
14:19:11 18          Q.    Is that correct that you initially
14:19:12 19    reached out to HK Strategies? This is a --
14:19:14 20          A.    Yes.
14:19:15 21          Q.    -- an e-mail in response to that
14:19:18 22    request?
14:19:18 23          A.    Yes.
14:19:19 24          Q.    Okay. If you'll -- so it says:
14:19:21 25                "Thank you for the call" right now --

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14:19:22   1   "just now."
14:19:23   2               Do you recall having a call with Ingo?
14:19:27   3          A.   I had a call with Ingo.
14:19:28   4          Q.   You had a call with Ingo.
14:19:29   5               Who was on that call?
14:19:31   6          A.   Me.
14:19:32   7          Q.   Just the two of you?
14:19:32   8          A.   Just the two of us.
14:19:33   9          Q.   And the first bullet point under "As
14:19:36 10    discussed, what needs to be done," Ingo is asking
14:19:39 11    for:
14:19:40 12                "An analysis of the publications to
14:19:42 13    date, including earlier coverage about Alexei
14:19:43 14    [sic] in relation to the hacks. He apparently
14:19:46 15    stated that the hacks did not happen or so media
14:19:49 16    wrote earlier. This is something to be taken
14:19:51 17    into account."
14:19:52 18                Do you see that?
14:19:53 19           A.   I see that.
14:19:54 20           Q.   What did you discuss on the call in
14:19:56 21    relation to that bullet point?
14:19:58 22           A.   I don't know anymore.
14:20:00 23           Q.   You don't recall?
14:20:01 24           A.   I don't know. No, I don't know.
14:20:03 25           Q.   Did you -- did you prepare the request

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14:20:06   1   and analysis?
14:20:14   2         A.    I don't know.
14:20:14   3         Q.    Did you ask anyone else to prepare the
14:20:18   4   request and analysis?
14:20:21   5         A.    I --
14:20:21   6               MR. GURVITS: Objection.
14:20:22   7               You can -- you can answer.
14:20:25   8               THE WITNESS: I don't know.
14:20:26   9         Q.    BY MS. SCHARY: You don't know?
14:20:27 10          A.    No.
14:20:29 11          Q.    Would there be any documents you could
14:20:31 12    consult to refresh your recollection?
14:20:33 13          A.    I don't know. Maybe. I don't know.
14:20:39 14          Q.    Do you recall any further discussion
14:20:41 15    about the requested analysis beyond this e-mail?
14:20:46 16                MR. GURVITS: Objection.
14:20:47 17          Q.    BY MS. SCHARY: You have to answer
14:20:48 18    verbally for the court reporter.
14:20:54 19          A.    What was your question?
14:20:56 20          Q.    I asked whether you recall having any
14:21:00 21    further discussion, beyond this e-mail request,
14:21:02 22    regarding the analysis of publications to date
14:21:05 23    that was requested by Ingo at HK Strategies?
14:21:08 24                MR. GURVITS: Objection.
14:21:12 25                THE WITNESS: I don't know.

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14:21:13   1         Q.    BY MS. SCHARY: You don't know?
14:21:13   2         A.    (Witness shakes head in the negative.)
14:21:17   3         Q.    Was there somebody else that you worked
14:21:19   4   with at XBT who was tasked with working with the
14:21:25   5   folks at HK Strategies?
14:21:45   6         A.    Alex. But I -- I don't know all -- no,
14:21:49   7   I don't know. I know that Alex was involved. And
14:21:54   8   the rest, I -- to be honest, I don't know who was
14:21:56   9   involved. It was, at that moment, crazy. I mean,
14:21:58 10    we -- we -- it was a big bomb explode. So I don't
14:22:03 11    know it. I'm sorry. I don't know.
14:22:03 12          Q.    Would -- would it be fair to say that
14:22:06 13    you were the point person at XBT dealing with
14:22:08 14    HK Strategies?
14:22:08 15          A.    For HK, yes.
14:22:11 16          Q.    Okay. And in looking at this e-mail,
14:22:12 17    it looks like your e-mail address here is
14:22:12 18    "jochem@xbt.com."
14:22:15 19                Do you see that?
14:22:16 20          A.    Yes.
14:22:16 21          Q.    So is it fair to say that at this
14:22:19 22    time, January 12, 2017, you were still the
14:22:22 23    chief commercial officer at XBT?
14:22:24 24          A.    Yes.
14:22:27 25          Q.    Looking through the e-mail chain

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14:22:30   1   in Exhibit 2, I see that you -- you forwarded
14:22:34   2   this communication to Mr. Gubarev.
14:22:38   3               Is that correct?
14:22:38   4         A.    Which page?
14:22:41   5         Q.    It's -- I'm looking at the second
14:22:42   6   e-mail in particular.
14:22:43   7         A.    Yes.
14:22:43   8         Q.    Okay. And Mr. Gubarev said to send
14:22:48   9   HK Strategies an invoice to Webzilla Limited
14:22:51 10    Cyprus; correct? [sic]
14:22:52 11          A.    Yes.
14:22:53 12          Q.    Okay. And then you -- and who -- who
14:22:55 13    is Regina, who you're asking for the details,
14:22:59 14    including VAT for Webzilla Limited Cyprus?
14:23:02 15          A.    Regina is -- officially, I don't know
14:23:07 16    her role to be honest. So she works at office.
14:23:12 17                (Court reporter clarification.)
14:23:12 18                MS. SCHARY: She works --
14:23:12 19                THE WITNESS: She works at our -- our
14:23:13 20    office.
14:23:13 21          Q.    BY MS. SCHARY: And turning now to
14:23:17 22    Exhibit 3.
14:23:20 23          A.    Yeah. (Examining.)
14:23:21 24          Q.    Is this the invoice for January 2017
14:23:23 25    communication services from Hill & Knowlton

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14:23:33   1   Strategies?
14:23:37   2         A.    It said so on this. Yes.
14:23:38   3         Q.    Yes?
14:23:39   4               Do you recognize this as an invoice
14:23:41   5   for those services?
14:23:51   6         A.    Yes.
14:24:05   7               MS. SCHARY: I'm going to mark as
14:24:06   8   Exhibit 4 a document with the Bates number
14:24:11   9   P-P000619.
14:24:28 10                (Exhibit 4 marked.)
14:24:30 11                THE WITNESS: Thank you.
14:24:34 12                MR. GURVITS: This is 4?
14:24:35 13                MS. SCHARY: This is Exhibit 4. Yes.
14:24:46 14          Q.    BY MS. SCHARY: And, Mr. Steman, you'll
14:24:48 15    see that the -- at least based on the subject line
14:24:51 16    in the first -- looks like three e-mails or so is --
14:24:55 17    is:
14:24:56 18                "Press statement, English."
14:24:57 19                Do you see that?
14:24:57 20          A.    (Examining.) Uh-huh.
14:24:58 21          Q.    And was that press statement -- what
14:25:02 22    was that press statement, if you recall?
14:25:12 23          A.    I don't know.
14:25:12 24          Q.    Was it a Word document?
14:25:22 25          A.    I don't know.

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14:25:24   1         Q.    Was it long?
14:25:25   2         A.    I don't know.
14:25:26   3         Q.    Do you have any recollection of the --
14:25:27   4         A.    No.
14:25:28   5         Q.    -- content of the press statement?
14:25:30   6         A.    I don't know.
14:25:30   7         Q.    Okay. I'm going to direct you to the
14:25:34   8   third e-mail from the top. There's an e-mail
14:25:41   9   from Jack de Vries.
14:25:43 10                And is Jack -- Jack de Vries is your
14:25:45 11    contact at -- at Hill & Knowlton Strategies?
14:25:47 12          A.    Yes.
14:25:48 13          Q.    Mr. de Vries says:
14:25:51 14                We --
14:25:51 15                "We now also added something about
14:25:54 16    the company and an internal check on hacks."
14:25:57 17                Do you see that?
14:25:58 18                And he asks:
14:25:59 19                "Can this be stated?"
14:26:03 20          A.    I see that.
14:26:04 21          Q.    Did you ever respond to this e-mail?
14:26:06 22          A.    Not that I'm aware of.
14:26:07 23          Q.    Did you ever respond to the request
14:26:09 24    about whether it can be stated -- whether something
14:26:13 25    can be stated about the company and an internal

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14:26:15   1   check on hacks, even if not by e-mail?
14:26:18   2         A.    I don't know.
14:26:19   3         Q.    Was there an attachment to this e-mail?
14:26:23   4         A.    Not that I'm aware of. So I don't know.
14:26:26   5   It's ...
14:26:32   6         Q.    Would it be fair to say that, as part
14:26:34   7   of their duties, HK Strategies were monitoring
14:26:39   8   the press relating to the dossier story?
14:26:46   9         A.    They were monitoring the press. Yes.
14:26:49 10          Q.    And where were they monitoring the press?
14:26:52 11          A.    I don't know.
14:26:52 12          Q.    Were they monitoring the press in Europe?
14:27:00 13          A.    I don't know.
14:27:00 14          Q.    Were they monitoring the press in just
14:27:03 15    The Netherlands?
14:27:05 16          A.    I don't know.
14:27:06 17          Q.    Did you give them any instruction about
14:27:08 18    what their duties were?
14:27:10 19          A.    To -- to provide consultancy service --
14:27:14 20    services or knowledge how to handle with this
14:27:16 21    kind of -- what's the right word, a nice word
14:27:25 22    for it? -- all the things that came -- came to
14:27:28 23    us. I mean, that was their job. Their job was
14:27:29 24    to support us where possible.
14:27:32 25          Q.    As part of that support, did they --

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14:27:33   1   and you said that they monitored press coverage
14:27:37   2   as part of that support?
14:27:39   3         A.    Uh-huh.
14:27:39   4         Q.    Did they send you regular reports
14:27:42   5   regarding press coverage?
14:27:44   6         A.    They sent some links when they found
14:27:47   7   something. Yes.
14:27:48   8         Q.    And were they monitoring the press
14:27:50   9   in Russia?
14:27:51 10          A.    I don't know.
14:27:52 11          Q.    Did you ever discuss with them where
14:27:54 12    and what areas to monitor press in?
14:27:57 13          A.    No. Primarily we hired them for The
14:28:01 14    Netherlands. So no, we didn't discuss it.
14:28:04 15                MS. SCHARY: Okay. Please.
14:28:11 16                We're going to mark as Exhibit 5 a
14:28:13 17    document with the Bates stamp P-P000617. And
14:28:20 18    because this was in Dutch, we're going to have
14:28:23 19    a -- a 5A, which is the Dutch version, and 5B,
14:28:28 20    which is the English translation.
14:29:24 21                (Exhibit 5A and Exhibit 5B marked.)
14:29:36 22          Q.    BY MS. SCHARY: And, Mr. Steman,
14:29:37 23    because I am not fluent in Dutch, I'm going
14:29:41 24    to refer to the English version. But you
14:29:43 25    should please let me know if there's anything

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14:29:46   1   incorrect in the translation that needs to be
14:29:48   2   corrected. It's quite short.
14:29:49   3         A.    I'm not a native English person. So
14:29:53   4   it will be --
14:29:55   5         Q.    Do you speak any languages other than
14:29:57   6   Dutch and English?
14:29:59   7         A.    Not good enough. So no.
14:30:04   8         Q.    Okay. So looking at -- at P-P000617,
14:30:07   9   referring -- I'm referring here to the English
14:30:11 10    version, which is Exhibit 5B, Mr. de Vries writes --
14:30:15 11    this is -- this is an e-mail that you received
14:30:17 12    from Mr. de Vries on January 12th, 2017, at
14:30:21 13    11:22 p.m.
14:30:23 14                Is that correct?
14:30:23 15          A.    (Examining.) It's stated there.
14:30:25 16          Q.    Do you have any reason to doubt that?
14:30:28 17          A.    No.
14:30:29 18          Q.    And Mr. de Vries writes you an e-mail
14:30:33 19    on January 12th at 11:22 p.m., saying:
14:30:36 20                "The first storm seems to have subsided.
14:30:39 21    No follow-up stories, other than one regional.
14:30:42 22    So that's good."
14:30:44 23                Do you see that?
14:30:45 24          A.    I see that.
14:30:46 25          Q.    And do you recall that being the case,

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14:30:49   1   that the first storm seemed to have subsided
14:30:53   2   at that point?
14:30:55   3          A.   I don't know. It was early in the
14:30:56   4   morning. So I don't know.
14:31:07   5          Q.   What did you understand him to mean
14:31:12   6   by "the first storm seems to have subsided"?
14:31:17   7          A.   You ask me what I think about the
14:31:19   8   sentence? Or what -- what is your question?
14:31:19   9          Q.   Do you -- do you recall having an
14:31:21 10    understanding of what Mr. de Vries was referring
14:31:23 11    to when he said "the first storm seems to have
14:31:26 12    subsided"?
14:31:35 13           A.   The -- the prob -- the problem is
14:31:36 14    I don't know exactly where this e-mail is over.
14:31:39 15    So this is not in a chain. So I cannot answer
14:31:43 16    that because I don't know the perspective.
14:31:54 17           Q.   Had you hired HK Strategies for any
14:31:56 18    purpose other than relating to the Buzzfeed
14:31:59 19    dossier?
14:32:00 20           A.   We only hired them for this dossier.
14:32:06 21           Q.   Okay.
14:32:08 22                (Court reporter clarification.)
14:32:08 23                THE WITNESS: The -- the Buzzfeed dossier.
14:32:09 24    Yes.
14:32:10 25                MS. SCHARY: Okay. I'm going to mark

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14:32:11   1   as Exhibit 6A and B, again, because of translation.
14:32:16   2   This is an article from de Volkskrant, dated
14:32:25   3   January 11, 2017. 6A is the Dutch version,
14:32:30   4   and 6B is the English translation.
14:32:56   5               (Exhibit 6A and Exhibit 6B marked.)
14:32:56   6               THE WITNESS: Thank you.
14:32:58   7         Q.    BY MS. SCHARY: Do you recognize this
14:33:13   8   article from de Volkskrant?
14:33:17   9         A.    No. I want to read it first.
14:33:19 10          Q.    Sure.
14:33:19 11          A.    (Examining.) This is not complete,
14:34:00 12    this sentence.
14:34:03 13          Q.    What is incomplete?
14:34:05 14          A.    The last -- the -- the sentence over
14:34:07 15    here. The Dutch one.
14:34:09 16          Q.    Uh-huh.
14:34:10 17          A.    There is miss -- you are missing a part.
14:34:16 18          Q.    Oh, I see what you mean. Coming into
14:34:18 19    the next --
14:34:19 20          A.    No. It's not on the next page.
14:34:20 21          Q.    I -- I think it may be a -- a function
14:34:25 22    of printing this from the Internet. But -- but
14:34:29 23    thank you. We can -- we can correct the record
14:34:32 24    with a differently printed exhibit later.
14:34:35 25                But other than the line missing, do

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14:34:38   1   you recall this article being published by
14:34:42   2   de Volkskrant?
14:34:44   3         A.    It's the same that the translation
14:34:46   4   is also not complete.
14:34:57   5         Q.    Sorry? You said the English translation
14:34:57   6   was not complete?
14:34:57   7         A.    No. The same sentence stops --
14:35:00   8         Q.    The same sentence --
14:35:00   9         A.    -- stops at the -- so I don't know
14:35:00 10    if there's any more -- any more to come.
14:35:02 11          Q.    Okay. And I'm -- I'm -- I'm not going
14:35:04 12    to ask you to go through the whole -- the content
14:35:07 13    of it line by line. But -- but thank you for
14:35:10 14    that.
14:35:10 15                Do you recall de Volkskrant writing
14:35:13 16    an article on -- on or about January 11th
14:35:17 17    regarding the Buzzfeed dossier?
14:35:20 18          A.    They published an article. Yes.
14:35:23 19          Q.    I'm sorry?
14:35:23 20          A.    They published an article. Yes.
14:35:25 21          Q.    Okay. Is this -- do you recognize
14:35:26 22    this as the article?
14:35:28 23          A.    No, because I'm missing a piece. So ...
14:35:35 24          Q.    Do you recognize the headline?
14:35:41 25          A.    Not specifically. So I know that there

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14:35:43   1   is an article. But I don't know the headlines --
14:35:46   2         Q.    Okay.
14:35:46   3         A.    -- on my mind. So --
14:35:46   4         Q.    Okay. That's fine.
14:35:49   5               I'm going to direct you to -- it's the
14:35:59   6   second page of the article in both the English
14:36:04   7   and the Dutch. And the second paragraph under
14:36:12   8   what in English says "Attractive" -- and I cannot --
14:36:15   9   under the -- the heading on the second page, the
14:36:18 10    second paragraph, second sentence in English:
14:36:23 11                "Because Webzilla doesn't yet have
14:36:25 12    their own data center in The Netherlands, the
14:36:28 13    company leases capacity from LeaseWeb, among
14:36:31 14    others. Webzilla has started building its
14:36:34 15    own data center in Amsterdam southeast in the
14:36:37 16    meantime."
14:36:38 17                Do you see that?
14:36:39 18          A.    The second?
14:36:41 19          Q.    The second sentence of the second
14:36:42 20    paragraph under the heading.
14:36:51 21          A.    Yes. I see that.
14:36:52 22          Q.    You see that?
14:36:53 23          A.    Uh-huh.
14:36:53 24          Q.    Okay. The data center in Amsterdam
14:36:57 25    southeast, is -- is that specifically the facility

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14:37:00   1   from Datacenter.com that we were talking about
14:37:02   2   earlier?
14:37:03   3         A.    I don't know. This -- this -- this
14:37:05   4   what they are mentioning, I don't know.
14:37:08   5         Q.    You don't know what data center they're
14:37:10   6   referring to in Amsterdam southeast?
14:37:12   7         A.    No.
14:37:12   8         Q.    Okay. To your knowledge, did Webzilla
14:37:17   9   lease capacity from LeaseWeb in The Netherlands
14:37:21 10    at that time, which would be 2016, 2017?
14:37:28 11          A.    I'm not sure if they rented it from
14:37:30 12    LeaseWeb. But --
14:37:31 13          Q.    Do you have a reason to believe they
14:37:33 14    did not rent from LeaseWeb?
14:37:38 15          A.    Yes. Because LeaseWeb is a competitor.
14:37:39 16    I think that you are mentioning -- and then I'll
14:37:40 17    give you additional information -- from -- that
14:37:43 18    I leased space from a sister company of LeaseWeb.
14:37:49 19          Q.    A sister company of? I'm sorry?
14:37:49 20          A.    Of LeaseWeb.
14:37:55 21          Q.    And what is the sister company of
14:37:55 22    LeaseWeb that they --
14:37:55 23          A.    EvoSwitch.
14:37:55 24          Q.    EvoSwitch?
14:37:55 25          A.    Yeah.

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14:37:55   1          Q.   So is it your understanding that there
14:37:57   2   was never a commercial relationship where Webzilla
14:38:01   3   was renting space from LeaseWeb?
14:38:04   4          A.   I don't know.
14:38:04   5          Q.   You don't know. Okay.
14:38:11   6               And following the publication of this
14:38:14   7   article, did you reach out to the reporter at
14:38:17   8   de Volkskrant about arranging an interview with
14:38:21   9   Mr. Gubarev?
14:38:22 10           A.   We had contact with -- with journalists.
14:38:24 11    Yes.
14:38:25 12           Q.   And did you initiate that contact?
14:38:30 13           A.   I don't know anymore. I don't know.
14:38:39 14                (Ms. Bolger joined the proceedings.)
14:38:43 15                MS. SCHARY: Okay. I'm going to mark
14:38:46 16    as Exhibit 7A and B a document with the Bates
14:38:57 17    stamp P-H000047. "A" is the Dutch version, and
14:39:05 18    "B" will be the English translation. This is "A."
14:39:08 19    This is "B." And to avoid confusion, I will say
14:39:44 20    that most of this is in English in both versions.
14:39:44 21    It's really just a couple e-mails in Dutch. So ...
14:39:59 22                (Exhibit 7A and Exhibit 7B marked.)
14:39:59 23                THE WITNESS: Oh, those two?
14:39:59 24                MR. GURVITS: The ones with the stickers
14:39:59 25    are -- are yours.

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14:40:00   1               THE WITNESS: Aah.
14:40:00   2               MS. SCHARY: You always have the ones
14:40:00   3   with the stickers.
14:40:00   4               THE WITNESS: You didn't tell me.
14:40:01   5         Q.    BY MS. SCHARY: Mr. Steman, I'm just
14:40:14   6   going to direct you quickly to the -- the very --
14:40:15   7   the e-mail at the very bottom of the chain,
14:40:17   8   which is at P-H 48. It's an e-mail from you
14:40:23   9   to Mr. Modderkolk, who I believe is the reporter
14:40:28 10    at de Volkskrant.
14:40:30 11          A.    (Examining.) Uh-huh.
14:40:31 12          Q.    Do you see that?
14:40:32 13          A.    No.
14:40:32 14          Q.    Does this refresh your recollection
14:40:34 15    that you reached out --
14:40:34 16          A.    Which -- which document? I have --
14:40:35 17    I have two times 47. So this is not okay.
14:40:36 18                MR. GURVITS: You gave me one maybe?
14:40:36 19    No.
14:40:40 20                MS. SCHARY: You have a 7 --
14:40:40 21                MR. GURVITS: Yeah. One's a -- one
14:40:42 22    is a -- one's a translation.
14:40:42 23                THE WITNESS: Oh, oh, oh.
14:40:43 24          Q.    BY MS. SCHARY: 7A is the original
14:40:45 25    Dutch. 7B is the --

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14:40:48   1         A.    Okay. Thank you.
14:40:48   2         Q.    -- English translation.
14:40:49   3         A.    Okay. Thank you.
14:40:49   4         Q.    So you can look at whichever one you
14:40:51   5   would like. But look -- please look at the last
14:40:53   6   e-mail in the chain, which is on January 11, 2017,
14:40:56   7   at 21:04.
14:40:59   8               And my question is: Does this refresh
14:41:04   9   your recollection that you reached out to the
14:41:06 10    reporter from de Volkskrant, offering Mr. Gubarev
14:41:11 11    for an interview?
14:41:12 12          A.    (Examining.) Yes.
14:41:37 13                And your question is?
14:41:39 14          Q.    My question -- you -- you said --
14:41:41 15    previously you testified that you didn't
14:41:43 16    recall how you -- how Mr. Gubarev's interview
14:41:46 17    was arranged. And I showed you this document.
14:41:49 18                And I'm now asking whether this
14:41:51 19    refreshes your recollection that you reached
14:41:53 20    out to the reporter to set up an interview?
14:42:06 21          A.    What I say is that I didn't know how
14:42:09 22    the first contact was. But I -- I reached out --
14:42:09 23                THE COURT REPORTER: Start again. No,
14:42:09 24    I need to hear you here. (Indicating.)
14:42:09 25                THE WITNESS: Oh, sorry.

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14:42:09   1               So what I say was that I didn't know
14:42:09   2   what the first contact was. That is what I say.
14:42:10   3   But yes, I sent an e-mail.
14:42:13   4         Q.    BY MS. SCHARY: Okay. That was my
14:42:14   5   question.
14:42:15   6         A.    Okay.
14:42:16   7         Q.    Great.
14:42:18   8               And when you first arranged this
14:42:21   9   interview, did -- did Mr. Gubarev ask you
14:42:24 10    to do that?
14:42:31 11          A.    I don't know. I don't know. I don't
14:42:36 12    know.
14:42:37 13          Q.    Would you have reached out to a reporter,
14:42:39 14    asking Mr. Gubarev -- offering Mr. Gubarev for
14:42:41 15    an interview without speaking with him first?
14:42:48 16          A.    Normally I won't. But I don't know at
14:42:51 17    that moment how it was -- for that moment, I don't
14:42:53 18    know to be honest.
14:43:03 19          Q.    And at some point prior to the interview
14:43:09 20    with de Volkskrant --
14:43:11 21          A.    Yeah.
14:43:11 22          Q.    -- you went back and put some
14:43:13 23    pre-conditions on that interview; is that correct?
14:43:16 24          A.    Such as?
14:43:22 25          Q.    Well, why don't you tell me what you

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14:43:24   1   recall the -- you -- did you -- do you recall
14:43:27   2   asking for any pre-conditions on the interview
14:43:29   3   prior to it happening?
14:44:05   4         A.    I don't know exactly. I don't know
14:44:29   5   exactly. I mean no. I think that the only thing
14:44:36   6   that we discussed at that moment was that we should
14:44:42   7   read the story to be sure that -- that the names
14:44:45   8   were okay. But I don't know it to be -- I don't
14:44:46   9   know it exactly anymore.
14:44:48 10                MS. SCHARY: Okay. I'm going to mark
14:44:51 11    8A and B, which is a document with the Bates
14:44:54 12    stamp P-P 618. 8A is the original Dutch. 8B is
14:45:00 13    the English translation. And marking as Exhibit 9
14:45:03 14    P-H000043. 9A will be the original Dutch. 9B
14:45:10 15    will be the translation.
14:46:15 16                (Exhibit 8A, Exhibit 8B, Exhibit 9A,
14:46:15 17          and Exhibit 9B marked.)
14:46:24 18          Q.    BY MS. SCHARY: And I'm going to start
14:46:25 19    first with -- with 8A, which is a January 13th
14:46:28 20    e-mail from you to Mr. Modderkolk at de Volkskrant.
14:46:38 21                Do you recognize this e-mail?
14:46:40 22          A.    (Examining.) Yes.
14:46:41 23          Q.    Does this refresh your recollection
14:46:42 24    that you asked Mr. Modderkolk that you -- you --
14:46:48 25    strike that.

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14:46:48   1               Does that refresh your recollection
14:46:50   2   that you told Mr. Modderkolk that you were
14:46:54   3   required to consent to publication before the
14:46:58   4   article was published?
14:47:00   5         A.    I asked that we could read it to check
14:47:02   6   the facts. Yes.
14:47:03   7         Q.    And in addition to reading it in advance
14:47:07   8   to check for facts, you also asked to assess the
14:47:09   9   context and the tenor before consenting; is that
14:47:14 10    correct?
14:47:14 11          A.    Sorry. Can you clarify the question?
14:47:17 12          Q.    I'm -- and I'm -- again, as not being
14:47:21 13    fluent in Dutch, I am looking at the third
14:47:25 14    paragraph -- the second sentence of the third
14:47:27 15    paragraph.
14:47:27 16                Based on the English translation,
14:47:29 17    my understanding is the first line says that
14:47:33 18    you wanted to go further than reading the
14:47:37 19    interview in advance and checking for factual
14:47:40 20    inaccuracies.
14:47:42 21                "We will also assess the context and
14:47:42 22    the tenor in order to consent to the publication."
14:47:46 23          A.    That's there. Yes. That's standing
14:47:51 24    there.
14:47:51 25          Q.    Excuse me?

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14:47:51   1         A.    That is standing there. Yes.
14:47:51   2         Q.    That's what it says there?
14:47:53   3         A.    Yeah, what it says. Yes.
14:47:53   4         Q.    Okay. And do you recall making that
14:47:55   5   request?
14:47:58   6         A.    No. Because it says here -- no.
14:48:01   7         Q.    Do you have any reason to doubt that
14:48:03   8   you made that request by e-mail?
14:48:05   9         A.    No.
14:48:11 10          Q.    And looking at 9A and B, this is a --
14:48:14 11    it looks like a continuation of that conversation.
14:48:21 12          A.    Oh.
14:48:21 13          Q.    Starting from the bottom, the e-mail
14:48:26 14    on January 13th at 6:57 p.m., there's a reference
14:48:34 15    to a call this evening that you had with
14:48:37 16    Mr. Modderkolk.
14:48:37 17                Do you recall having a call with
14:48:40 18    Mr. Modderkolk about the parameters for the
14:48:43 19    interview?
14:48:44 20                I'm looking at the very last e-mail.
14:48:46 21          A.    The last e-mail?
14:48:47 22          Q.    Yes.
14:48:57 23          A.    So what's your question?
14:48:59 24          Q.    The e-mail refers to a call that you
14:49:01 25    had with Mr. Modderkolk.

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14:49:03   1               Do you recall that -- the substance
14:49:05   2   of that call?
14:49:10   3         A.    If the question is if I know if we
14:49:12   4   were in this call, then my answer was no. But
14:49:14   5   I know that there was a call.
14:49:15   6         Q.    You know there was a call?
14:49:16   7         A.    Yeah.
14:49:18   8         Q.    Do you recall in sum and substance what
14:49:20   9   you talked about, even if not every word?
14:49:20 10          A.    The location.
14:49:21 11          Q.    Okay.
14:49:23 12          A.    Where the -- the -- the interview
14:49:23 13    should place -- took place -- where organized.
14:49:28 14    And they confirmed that they first would let
14:49:37 15    us read the article. That was during that
14:49:38 16    call. That's the things what I know. But ...
14:49:41 17          Q.    And did you eventually agree that,
14:49:46 18    as long as you could read the article, that
14:49:49 19    would be sufficient?
14:49:58 20          A.    I don't know that precisely to be
14:50:02 21    honest. So I don't know. I don't know.
14:50:11 22          Q.    Do you recall what the final agreement
14:50:13 23    was with de Volkskrant?
14:50:14 24          A.    The agreement was that we should discuss
14:50:18 25    part of this during the interview. So I don't

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14:50:22   1   know -- I don't have it on top of mind. So I
14:50:24   2   don't know. I know that they agreed with us
14:50:27   3   to share the article. But I -- all other --
14:50:29   4   if there were other agreements, I don't know.
14:50:33   5               I mean, it's also stating over here
14:50:36   6   somewhere, I think in the e-mail, that says,
14:50:37   7   hey, okay, let's discuss it during or prior
14:50:40   8   to. So it's -- I don't know.
14:50:43   9               MS. SCHARY: Okay. I'm going to
14:51:00 10    show you a document that I'm going to mark
14:51:03 11    as Exhibit 10. It's Bates stamp P-P000668.
14:51:27 12                (Exhibit 10 marked.)
14:51:44 13          Q.    BY MS. SCHARY: Do you recognize
14:51:45 14    this as an e-mail on January 13, 2017, from
14:51:50 15    Jack de Vries at HK Strategies called:
14:51:52 16                "InterviewPrep."
14:51:55 17          A.    (Examining.) Yes.
14:52:00 18          Q.    And did you communicate the substance
14:52:02 19    of this e-mail to Mr. Gubarev?
14:52:15 20          A.    I don't know. It's not in the copy.
14:52:32 21    So I don't know.
14:52:35 22          Q.    Did you forward this to Mr. Gubarev?
14:52:39 23          A.    It's not top of mind. So I don't know.
14:52:42 24          Q.    I'm going to direct you to the second
14:52:45 25    page under:

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14:52:46   1               "Stick to the following key messages."
14:52:47   2         A.    Yes.
14:52:49   3         Q.    The seventh bullet point down starts:
14:52:55   4               "Our own internal investigation" --
14:52:57   5               And there's some brackets. "[Rules out]"
14:52:59   6   is one option. And "[produced no indication]" is
14:53:02   7   the other option.
14:53:03   8               -- "of a hack or abuse."
14:53:04   9               Do you see that?
14:53:05 10          A.    I see that. Yes.
14:53:06 11          Q.    Were you aware of an internal
14:53:09 12    investigation at Webzilla and/or XBT in response
14:53:13 13    to the Buzzfeed dossier?
14:53:22 14          A.    I don't know. I don't know. This is
14:53:26 15    technical department. I don't know.
14:53:27 16          Q.    Well, you were the person who engaged
14:53:30 17    the -- the outside PR agency; right?
14:53:31 18          A.    I was just the man in the middle who
14:53:33 19    arranging it. So yes, I arranged the -- the --
14:53:35 20    the interview. But I don't know all the internal --
14:53:39 21          Q.    Did they ever ask whether the allegations
14:53:42 22    were true?
14:53:45 23                MR. GURVITS: Objection.
14:54:03 24                THE WITNESS: I don't know.
14:54:06 25          Q.    BY MS. SCHARY: You don't know whether

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14:54:08   1   HK Strategies ever asked if the allegations in
14:54:10   2   the Buzzfeed dossier were true?
14:54:14   3               MR. GURVITS: Objection.
14:54:14   4               THE WITNESS: No, I don't know.
14:54:17   5         Q.    BY MS. SCHARY: Did you have any
14:54:17   6   conversations with Mr. Gubarev about whether
14:54:20   7   the allegations in the Buzzfeed dossier were
14:54:21   8   true?
14:54:22   9         A.    Yes.
14:54:28 10          Q.    And what were those con -- how many
14:54:31 11    conversations did you have approximately?
14:54:34 12          A.    I don't know. I don't know.
14:54:38 13          Q.    What did Mr. Gubarev tell you?
14:54:43 14          A.    That's not true.
14:54:44 15                (Court reporter clarification.)
14:54:44 16                THE WITNESS: That it is not true.
14:54:44 17          Q.    BY MS. SCHARY: Did you ask Mr. Gubarev
14:54:45 18    how he knows it's not true?
14:54:47 19          A.    Yes, I did.
14:55:08 20          Q.    And what did he say?
14:55:09 21          A.    That it was not true.
14:55:11 22          Q.    Did he -- other than telling you that
14:55:14 23    it was not true --
14:55:15 24          A.    No.
14:55:15 25          Q.    -- did he provide any explanation as

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14:55:17   1   to how he knows it was not true?
14:55:19   2         A.    No, because this not true. So no.
14:55:22   3         Q.    I'm sorry. Can you repeat that?
14:55:23   4         A.    I said no, because it's not true.
14:55:25   5   So no, there is no ...
14:55:27   6         Q.    Okay. And were you aware of an
14:55:32   7   internal investigation being performed at
14:55:35   8   Webzilla or XBT regarding the allegations?
14:55:43   9         A.    As I already stated, I don't know.
14:55:48 10          Q.    So you didn't advise HK Strategies
14:55:51 11    which of these two options in Exhibit 10 were --
14:55:55 12    were correct?
14:55:56 13          A.    Not that I'm aware of. No.
14:56:00 14          Q.    I'm sorry?
14:56:01 15          A.    Not that I'm aware of. So ...
14:56:04 16          Q.    Sitting here today, do you believe
14:56:10 17    the allegations are true?
14:56:11 18          A.    No.
14:56:12 19          Q.    How do you know?
14:56:13 20          A.    Because I know.
14:56:19 21          Q.    I'm going to look at the third page
14:56:21 22    now of this exhibit, the first bullet point.
14:56:24 23    It says:
14:56:26 24                "Tell me how you protect your" --
14:56:27 25                And my -- just to back up here, my

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14:56:30   1   understanding of this document -- tell me if
14:56:32   2   you agree -- is a list of potential questions
14:56:36   3   that might come up in the interview.
14:56:39   4               Is that your understanding as well?
14:56:40   5         A.    Yes. It's also named as "InterviewPrep."
14:56:43   6   So it's a preparation.
14:56:43   7         Q.    Right.
14:56:43   8         A.    Yes.
14:56:43   9         Q.    Judging from context; correct?
14:56:46 10                And you see, on the third page of the
14:56:48 11    exhibit, the first bullet point is:
14:56:51 12                "Tell me how you protect your servers
14:56:53 13    from abuse. How can you be sure you have not
14:56:57 14    been hacked/abused?"
14:56:58 15                Do you see that?
14:56:59 16          A.    Yes.
14:57:01 17          Q.    Do you -- did you know the answer --
14:57:02 18    do you know the answer to that question?
14:57:05 19          A.    No.
14:57:08 20          Q.    Did you ever make any effort to find
14:57:11 21    the answer to that question?
14:57:12 22          A.    No.
14:57:13 23          Q.    Did you have any prep with Mr. Gubarev
14:57:15 24    for the interview in which you discussed that
14:57:18 25    question?

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14:57:22   1         A.    Not that I'm aware of.
14:57:24   2         Q.    Not that you're aware of?
14:57:25   3         A.    No.
14:57:29   4         Q.    Okay. I'm going to -- before we
14:57:41   5   switch gears here.
14:57:45   6               Given your experience in -- in this
14:57:48   7   space, what do you think is the answer to that
14:57:51   8   question?
14:57:54   9         A.    Which question?
14:57:55 10          Q.    The question of how Webzilla and XBT
14:58:03 11    protects their servers from abuse and how they
14:58:05 12    can be sure that they haven't been hacked or
14:58:09 13    abused?
14:58:10 14          A.    I don't know. It's not my -- my --
14:58:11 15    my knowledge field. So I cannot judge about
14:58:13 16    it. So I don't know.
14:58:15 17          Q.    So in your position as chief commercial
14:58:17 18    officer at XBT, you had no idea how XBT protects
14:58:24 19    its servers from abuse?
14:58:26 20          A.    No.
14:58:26 21                MR. GURVITS: Objection.
14:58:27 22          Q.    BY MS. SCHARY: That's not a question
14:58:28 23    that ever came up?
14:58:29 24          A.    No.
14:58:29 25                MS. SCHARY: Okay. Okay. Now I'm going

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14:58:35   1   to hand you a series of documents. So, actually,
14:58:40   2   why don't we go off the record so I can mark things
14:58:43   3   for the court reporter.
14:58:45   4               THE VIDEOGRAPHER: Going off the record
14:58:45   5   at 2:58.
14:58:48   6               (Recess from 2:58 p.m. to 3:10 p.m.)
14:58:48   7               (Exhibit 11, Exhibit 12, Exhibit 13,
14:58:48   8         Exhibit 14A, Exhibit 14B, Exhibit 15,
14:58:48   9         Exhibit 16, Exhibit 17A, Exhibit 17B,
14:58:48 10          Exhibit 18A, Exhibit 18B, Exhibit 19A,
14:58:48 11          and Exhibit 19B marked.)
15:10:52 12                THE VIDEOGRAPHER: This is the beginning
15:10:53 13    of DVD No. 2. Back on the record at 3:10.
15:10:57 14          Q.    BY MS. SCHARY: Mr. Steman, I'm going
15:10:58 15    to hand you a series of exhibits that are marked
15:11:02 16    11 through 19. And Exhibits 14, 17, 18, and 19
15:11:07 17    have an "A" and a "B" because they have a Dutch
15:11:10 18    and English translation. The "A" is the Dutch
15:11:13 19    original, and the "B" is the English translation.
15:11:14 20    Here you go.
15:11:20 21          A.    Yeah.
15:11:23 22          Q.    I want you to keep these all -- you'll
15:11:26 23    see why we're putting these all together. So I'm
15:11:27 24    going to ask you to help me sort a few things out
15:11:32 25    here.

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15:11:32   1               So starting with Exhibit 11, it has a
15:11:35   2   number in the bottom, which is actually an internal
15:11:38   3   tracking number for us, because this is a document
15:11:42   4   that was produced as a native document. And so
15:11:45   5   there's an e-mail dated January 17th at the top,
15:11:49   6   saying -- in which you say:
15:11:53   7               "Attached" is "the document from
15:11:55   8   Volkskrant." (As read.)
15:11:56   9               And then behind it is a Word document
15:12:00 10    that I will represent to you is the document
15:12:02 11    referenced as:
15:12:03 12                "Artikel Gubarev.docx."
15:12:08 13                And I just want to ask you: Is -- is
15:12:10 14    this the initial draft of the Volkskrant article
15:12:13 15    that you received from the reporters?
15:12:25 16          A.    (Examining.) So your question is if
15:12:41 17    this is the initial document?
15:12:42 18          Q.    Is this the initial draft --
15:12:44 19          A.    Draft?
15:12:44 20          Q.    Do you recognize this as the initial --
15:12:46 21    original -- initial draft of the article provided
15:12:47 22    to you by Mr. Modderkolk at Volkskrant?
15:13:08 23          A.    Yes.
15:13:08 24          Q.    Yes. Okay.
15:13:09 25                And turning to Exhibit 12 is a document

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15:13:19   1   that also has an internal tracking number PL_H_ 11
15:13:24   2   in the bottom right corner, because this also was
15:13:27   3   a native document. There's an e -- a series of
15:13:30   4   e-mails. The top one says:
15:13:32   5               "Hereby I send you the English translation
15:13:34   6   of the article."
15:13:35   7               And this is from Jack de Vries at HK
15:13:39   8   Strategies. And there's an attachment:
15:13:40   9               "Artikel Gubarev English.docx."
15:13:43 10                I'll represent to you that the Word
15:13:44 11    document following that is the attachment.
15:13:46 12                And so my question to you is: Do --
15:13:48 13    do you recognize this as the English translation
15:13:51 14    that Jack from HK Strategies sent to you?
15:13:54 15          A.    (Examining.) Yes.
15:14:18 16          Q.    Okay. Now we're going to look at
15:14:27 17    Exhibit 13 --
15:14:29 18          A.    Uh-huh.
15:14:29 19          Q.    -- which was also produced as a
15:14:32 20    native document. And this is an e-mail from
15:14:37 21    you to Jack and to Alex and another individual
15:14:42 22    at HK Strategies, with an attachment:
15:14:45 23                "Artikel Gubarev Met Correcties-1.docx."
15:14:49 24                Saying in the body of the e-mail:
15:14:51 25                "My notes in Dutch."

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15:14:53   1               And I will represent to you that the
15:14:56   2   Word document, which has some red-lining in it,
15:14:59   3   is the -- the document referenced as the attachment.
15:15:05   4               Do you recognize this as your red-line
15:15:08   5   of the article?
15:15:14   6         A.    I have to read it.
15:15:15   7         Q.    Okay.
15:15:17   8         A.    (Examining.) So your question is:
15:16:05   9   Is all this content is written by me, this
15:16:09 10    document?
15:16:09 11          Q.    Well, yes, actually. Is -- are --
15:16:13 12    are all of these red lines yours?
15:16:18 13          A.    The red lines?
15:16:19 14          Q.    The -- the edits?
15:16:23 15          A.    Yeah. But there are also purple and
15:16:26 16    green ones. So ...
15:16:27 17          Q.    Sorry. There's -- there's red, there's
15:16:28 18    blue, and there's purple?
15:16:30 19          A.    Yeah. So which one you referring to?
15:16:32 20    The red ones?
15:16:32 21          Q.    No. I'm asking which of these track
15:16:35 22    changes are your edits?
15:16:38 23          A.    If you have the original document, you
15:16:39 24    can see it. I -- let's see.
15:16:41 25          Q.    Are all of these track changes your

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15:16:43   1   edits?
15:16:44   2         A.    No.
15:16:46   3         Q.    Which of these track changes are your
15:16:49   4   edits?
15:16:50   5         A.    I'm trying to figure it out. I don't
15:16:52   6   know.
15:16:52   7         Q.    Okay.
15:17:33   8         A.    Only the red marks are mine.
15:17:35   9         Q.    Okay. Do you know who made the blue
15:17:39 10    marks?
15:17:39 11          A.    No.
15:17:40 12          Q.    Do you know who made the purple marks?
15:17:42 13          A.    No.
15:18:04 14          Q.    So keep 13 -- keep 13 in front of you.
15:18:07 15    We're going to go back to it, the one we were
15:18:11 16    just looking at.
15:18:14 17          A.    This one?
15:18:15 18          Q.    Yeah. It's -- and if you want a clip
15:18:19 19    to keep them together, you have one there.
15:18:21 20          A.    Oh. Thank you.
15:18:30 21          Q.    Can we look at Exhibit 14, which is
15:18:41 22    the Bate -- bears the Bates stamp P-P 576.
15:18:51 23          A.    Uh-huh. (Examining.)
15:18:52 24          Q.    And we received four PDFs of -- I'm
15:18:57 25    sorry -- five PDFs that are represented as

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15:19:01   1   attachments to this document. And you'll have
15:19:04   2   them at Exhibits 15, 16, 17, 18, and 19. These
15:19:10   3   are marked, as you see in the bottom, P-P 576.
15:19:13   4   There's an "a1," "a7," "a14," "a22," and "a30."
15:19:20   5               And what I'm trying to figure out here
15:19:23   6   with you is which -- whose edits are in various
15:19:30   7   documents.
15:19:32   8         A.    Okay.
15:19:32   9         Q.    So let's start with Exhibit 15. Would
15:19:34 10    you agree with me that Exhibit 15, which is a --
15:19:37 11    appears to be a Dutch -- the -- the original draft
15:19:43 12    of the article in Dutch, would you agree with me
15:19:46 13    that this is the same document that was attached
15:19:48 14    in Exhibit 11?
15:19:49 15          A.    I don't know. We have to check.
15:19:59 16                (Examining.) It looks like. Yes.
15:20:23 17          Q.    Okay. And Exhibit 16, which appears
15:20:25 18    to be an English translation, would you agree
15:20:28 19    that that's the same as Exhibit 12?
15:21:16 20          A.    Exhibit 12, you said?
15:21:17 21          Q.    Yes. The exhibit --
15:21:23 22          A.    Oh, it might be --
15:21:23 23          Q.    The attachment to Exhibit 12, which
15:21:25 24    is an English translation of the document,
15:21:27 25    would you agree that's the same document as

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15:21:30   1   Exhibit 16?
15:21:31   2         A.    I don't have 12. Aah, here's 12.
15:21:58   3   Okay. Document 12, let's see. (Examining.)
15:22:05   4         Q.    I'm specifically asking about the
15:22:08   5   attachment to 12, the -- the Word document.
15:22:16   6         A.    So can you rephrase your -- your
15:22:18   7   question? It was if this document is the
15:22:20   8   same as is in No. 17?
15:22:22   9         Q.    Sixteen.
15:22:23 10          A.    Sixteen. It looks like. Yes.
15:22:50 11          Q.    Okay. And let's look at -- you can
15:22:53 12    put those aside. You're not going to need
15:22:56 13    those anymore.
15:22:57 14          A.    (Witness complies.)
15:22:57 15          Q.    Looking at Exhibit 17 --
15:23:00 16          A.    Yes.
15:23:00 17          Q.    -- which is a -- is P-P 576-a07,
15:23:08 18    these are -- this is a red-lined copy of the
15:23:13 19    draft article.
15:23:15 20                Are these edits made by HK Strategies?
15:23:33 21          A.    I don't -- let's see if there's another
15:23:35 22    one, because I don't know. There's only one
15:23:39 23    purple or all marks?
15:23:41 24          Q.    Excuse me?
15:23:42 25          A.    Do you talk about all marks in the

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15:23:45   1   document?
15:23:46   2         Q.    Yeah. Or if you -- if -- if you think
15:23:47   3   that only some of them are, I would take that
15:23:51   4   answer as well. I'm trying to determine whose
15:23:54   5   edits these are since we don't have any indication.
15:23:57   6         A.    (Examining.) I don't know who makes
15:25:06   7   the changes to be honest. So I -- to me -- I
15:25:09   8   mean, I don't --
15:25:11   9         Q.    If you don't know, that's fine.
15:25:14 10                MS. SCHARY: I'm just going to say,
15:25:15 11    for the record, that these were produced to us.
15:25:18 12    They don't appear to be attachments to P-P 576,
15:25:21 13    at least not all five of them.
15:25:24 14                And if the witness doesn't recall
15:25:27 15    whose edits are whose, we'd be happy to take
15:25:31 16    the original e-mails to which these documents
15:25:33 17    were attached or a stipulation as to who the
15:25:37 18    authors were since this was produced without
15:25:40 19    metadata and we do not have any native versions
15:25:43 20    of e-mails attaching -- specifically attaching
15:25:48 21    17 and 19. So --
15:25:52 22                MR. GURVITS: So we'll respond to
15:25:53 23    any written requests for this.
15:25:56 24                MS. SCHARY: Okay. Thank you.
15:25:57 25          Q.    BY MS. SCHARY. Okay. Looking at 18 --

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15:25:58   1   and I -- I believe -- and you should correct me
15:26:01   2   if I'm wrong.
15:26:02   3               But I believe that 18 is the same as
15:26:06   4   the attachment to 13, meaning that these -- this
15:26:08   5   is the one that reflects your notes in red.
15:26:14   6          A.   (Examining.) The red notes are mine.
15:26:15   7   Yes.
15:26:16   8          Q.   You said the red notes are yours;
15:26:19   9   correct?
15:26:19 10           A.   Yes.
15:26:19 11           Q.   Okay. And I'm going to look at the
15:26:26 12    notes on the page that's marked "a15" of Exhibit
15:26:30 13    18. And I am looking at the English version,
15:26:34 14    which is 18B.
15:26:40 15           A.   All right.
15:26:40 16           Q.   Okay. In the -- the second comment
15:26:53 17    by you, it says:
15:26:55 18                "6 percent of Webzilla's revenue is
15:26:57 19    content."
15:26:58 20                Do you mean -- does that -- is that
15:26:59 21    supposed to be "adult content"?
15:27:01 22           A.   Yes.
15:27:01 23           Q.   Okay. And then you say:
15:27:04 24                "Within other brands such as
15:27:06 25    Servers.com, hosting" adult "content" --

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15:27:07   1               (As read.)
15:27:08   2               I assume.
15:27:08   3               -- "is forbidden."
15:27:10   4               Which -- which brands forbid hosting
15:27:13   5   adult content?
15:27:18   6          A.   Servers.com.
15:27:20   7          Q.   Just Servers.com?
15:27:20   8          A.   As far as I know -- as far as I know,
15:27:21   9   yes.
15:27:22 10           Q.   And is that in a written policy?
15:27:24 11           A.   I don't know.
15:27:25 12           Q.   Okay. When did that become a policy
15:27:31 13    of Servers.com not to host adult content?
15:27:35 14           A.   I don't know.
15:27:37 15           Q.   How do you know whether customers
15:27:39 16    of Servers.com are hosting adult content?
15:27:44 17           A.   I don't know.
15:27:47 18           Q.   What happens if you learn that
15:27:52 19    a customer of Servers.com is hosting adult
15:27:55 20    content?
15:27:58 21           A.   I don't know.
15:27:59 22           Q.   You don't know what happens?
15:28:01 23           A.   No.
15:28:10 24           Q.   Why is that the policy?
15:28:12 25                MR. GURVITS: Objection.

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15:28:14   1               THE WITNESS: I don't know.
15:28:15   2         Q.    BY MS. SCHARY: But you knew it was
15:28:16   3   the policy because you wrote that in the comment;
15:28:18   4   correct?
15:28:18   5         A.    I -- I know that it is not [sic] a policy.
15:28:22   6   But I don't know why the policy is there.
15:28:24   7         Q.    Did somebody tell you that was the policy?
15:28:26   8         A.    Someone should be, because I also didn't
15:28:26   9   know. So yes, someone told me. But I don't know
15:28:30 10    who. But someone told me.
15:28:32 11          Q.    Well, how did you know to make this
15:28:34 12    comment here in the -- in the draft article?
15:28:43 13          A.    The 6 percent, you mean?
15:28:45 14          Q.    How did you know that 6 percent of
15:28:47 15    Webzilla's revenue is adult content?
15:28:49 16          A.    As far as I know, it's even part of
15:28:49 17    our KPMG. So -- so we -- that -- that's --
15:28:55 18    that's the reason. And the other one, because
15:28:58 19    I know. And how I know, probably someone told
15:29:02 20    me. But I don't know who. So ...
15:29:04 21          Q.    Did you consult with Mr. Gubarev in
15:29:07 22    creating -- in -- in providing comments to this --
15:29:09 23    to this draft?
15:29:16 24          A.    Not in each. But -- so I don't know
15:29:19 25    if we discussed this. But this is policy. So

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15:29:24   1   this is the reason why I can answer this question.
15:29:27   2         Q.    Well, it's a policy at Servers.com.
15:29:27   3               But you didn't --
15:29:28   4         A.    Yeah.
15:29:28   5         Q.    -- work for Servers.com; correct?
15:29:29   6         A.    No. Servers.com is part of XBT.
15:29:32   7         Q.    Okay. So as a chief commercial officer
15:29:34   8   of XBT, you were aware that Servers.com did not
15:29:37   9   allow hosting of adult content?
15:29:40 10                MR. GURVITS: Objection.
15:29:50 11                THE WITNESS: That was too fast. What
15:29:51 12    did you ask?
15:29:52 13          Q.    BY MS. SCHARY: As the chief commercial
15:29:53 14    officer of XBT.com --
15:29:56 15          A.    Uh-huh.
15:29:57 16          Q.    Or strike that.
15:29:57 17                As the chief commercial officer of
15:30:00 18    XBT, you were aware that Servers.com had a
15:30:05 19    policy of not allowing the hosting of adult
15:30:09 20    content; correct?
15:30:11 21                MR. GURVITS: Objection.
15:30:26 22                THE WITNESS: Yes.
15:30:31 23          Q.    BY MS. SCHARY: And you know that
15:30:33 24    only Servers.com had that policy and not other
15:30:38 25    businesses within XBT; correct?

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15:30:44   1         A.    No, I don't know.
15:30:46   2         Q.    Are there other brands, other than
15:30:49   3   Servers.com, that forbid the hosting of adult
15:30:53   4   content within XBT?
15:30:55   5         A.    I don't know.
15:30:57   6         Q.    And you do not know why that is the
15:30:59   7   policy at Servers.com?
15:31:02   8         A.    No.
15:31:10   9         Q.    Okay. If you turn to -- two pages
15:31:12 10    further on "a17," you have a comment here:
15:31:29 11                "Webzilla is not building a data
15:31:31 12    center, that's in regard to Datacenter.com,
15:31:33 13    a completely different entity which has
15:31:37 14    nothing to do with Webzilla or the other
15:31:39 15    brands, other than the same investor XBT."
15:31:41 16                Do you see that?
15:31:42 17          A.    Uh-huh. I see it.
15:31:44 18          Q.    And that's in response to a line in
15:31:46 19    the article saying that Webzilla is currently
15:31:48 20    building their own data center in Amsterdam
15:31:52 21    southeast; correct?
15:31:53 22          A.    Yes.
15:31:57 23          Q.    So the data center in Amsterdam
15:31:59 24    southeast is the Datacenter.com facility;
15:32:02 25    correct?

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15:32:02   1          A.   I don't know if they mentioned our
15:32:14   2   data center. So I don't know. There are
15:32:19   3   multiple data centers out there. So I don't
15:32:23   4   know.
15:32:23   5               THE COURT REPORTER: "Multiple"?
15:32:24   6               THE WITNESS: Data centers in the
15:32:24   7   same --
15:32:24   8          Q.   BY MS. SCHARY: Were you -- was
15:32:26   9   Datacenter.com opening -- building a facility
15:32:29 10    in Amsterdam southeast?
15:32:34 11           A.   We were building a data center in
15:32:36 12    Amsterdam southeast. Yes.
15:32:38 13           Q.   Okay. If you go down to 576-a19,
15:32:55 14    there's a comment from you -- attributed to
15:33:01 15    you:
15:33:02 16                "Why is everyone looking at Webzilla?
15:33:04 17    Take a look at Serverius in The Netherlands.
15:33:07 18    They only have Russian clients."
15:33:11 19                Can you explain why you made that
15:33:14 20    comment?
15:33:16 21           A.   I don't know the question anymore
15:33:20 22    based on that comment. So no, I cannot answer
15:33:23 23    that.
15:33:33 24           Q.   Going down two paragraphs, you have
15:33:36 25    a comment responding to a question of whether

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15:33:38   1    it was true that Bezruchenko was in Prague for
15:33:42   2    two weeks. You say:
15:33:43   3               "That's true! At Hitachi event."
15:33:48   4               What was the Hitachi event that you
15:33:48   5    were referring to?
15:33:51   6         A.    Hitachi's a vendor that -- let's see.
15:33:53   7    Before answer -- Hitachi is vendor of hard drives.
15:34:01   8         Q.    Is a -- is a vendor?
15:34:01   9         A.    A vendor and a manufacturer of hard
15:34:03 10     drives.
15:34:03 11          Q.    Of?
15:34:03 12          A.    Hard disks.
15:34:05 13          Q.    Of hard drives and hard disks?
15:34:07 14          A.    Hard drives.
15:34:08 15          Q.    Okay. Got it.
15:34:10 16                Okay. And if you look at Exhibit 19,
15:34:28 17     I just want to ask if it's your understanding
15:34:45 18     that this is what was sent to de Volkskrant?
15:34:52 19          A.    (Examining.) If this version is --
15:35:20 20     your question is if this version is sent to
15:35:23 21     de Volkskrant?
15:35:23 22          Q.    Yeah. Do you recognize that as what
15:35:25 23     was sent to de Volkskrant?
15:35:28 24          A.    I don't know.
15:35:28 25          Q.    Okay. Okay. You can put those aside.

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15:35:38   1         A.    Okay. (Witness complies.)
15:35:58   2               MS. SCHARY: I'm going to mark Exhibit
15:36:00   3    20A and B, which is a document with the Bates
15:36:06   4    number P-P 473.
15:36:58   5               (Exhibit 20A and Exhibit 20B marked.)
15:36:58   6         Q.    BY MS. SCHARY: I'm going to direct
15:36:59   7    your attention to the e-mail on January 18th,
15:37:00   8    11:47 a.m., which is the e-mail at the bottom
15:37:06   9    of the chain.
15:37:16 10          A.    (Examining.) Yes.
15:37:17 11          Q.    Do you recall receiving a revised
15:37:20 12     article from -- I'm sorry. Strike that.
15:37:23 13                Do you recall sending edits to
15:37:26 14     Mr. Modderkolk in -- edits to the draft
15:37:30 15     article?
15:37:46 16          A.    Your question is if we sent revised
15:37:50 17     documents? Yes, we did.
15:37:51 18                MS. SCHARY: Okay. We do not have
15:37:51 19     those documents. We'd like to request that
15:37:52 20     this be produced, the -- the e-mail below --
15:37:55 21     the e-mail at 11:47 a.m. with the attachment.
15:38:00 22     It's the bottom e-mail.
15:38:09 23                MR. GURVITS: You're looking for
15:38:09 24     the native format e-mail?
15:38:12 25                MS. SCHARY: I would prefer that you

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15:38:14   1    produce it Bates stamped with the attachment
15:38:17   2    also Bates stamped directly after it.
15:38:24   3         Q.     BY MS. SCHARY: And, Mr. Steman,
15:38:25   4    if you go to one e-mail above that, there's
15:38:28   5    an e-mail on January 18th at 11:21. And
15:38:32   6    the e-mail you are forwarding -- oh, sorry.
15:38:42   7                Strike that.
15:38:52   8                The -- the second e-mail from the
15:38:53   9    bottom is an e-mail from Mr. Modderkolk to
15:38:56 10     you, saying:
15:38:57 11                 "See attached the edited" argue --
15:38:58 12     "article. As you can see, we processed all
15:39:02 13     comments." (As read.)
15:39:02 14                 Do you recall receiving a revised
15:39:05 15     article from de Volkskrant in response to your
15:39:09 16     comments?
15:39:26 17          A.     It's standing here. So probably we
15:39:28 18     received -- probably I received the document.
15:39:30 19          Q.     I'm sorry. Can you repeat that?
15:39:32 20          A.     In the e-mail is standing that there
15:39:34 21     was an attachment. So probably there is an
15:39:36 22     attachment.
15:39:36 23                 MS. SCHARY: Okay. And we'd like --
15:39:37 24     same request for this e-mail. We'd like to
15:39:40 25     have the e-mail and its attachments.

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15:39:43   1               MR. GURVITS: Which is the second
15:39:44   2    e-mail?
15:39:45   3               MS. SCHARY: It's the e-mail from
15:39:46   4    Mr. Modderkolk to Jochem on --
15:39:50   5               MR. GURVITS: Attaching the --
15:39:50   6    showing their --
15:39:51   7               MS. SCHARY: (Reading.)
15:39:52   8               "See attached the edited article."
15:39:54   9               Correct.
15:39:54 10                MR. GURVITS: I see it.
15:39:56 11                MS. SCHARY: Correct. Okay.
15:40:28 12                I'm going to mark as Exhibit 21 and 22.
15:40:39 13     21 is P-P 562. 22 is P-P 545. And there's an "A"
15:41:11 14     and a "B" for each of those. This is 21. This
15:41:13 15     is 22.
15:42:14 16                (Exhibit 21A, Exhibit 21B, Exhibit 22A,
15:42:14 17           and Exhibit 22B marked.)
15:42:15 18           Q.   BY MS. SCHARY: I'm going to start with
15:42:17 19     22.
15:42:36 20                Do you recognize this as a continuation
15:42:38 21     of the prior e-mail after Mr. Modderkolk sent
15:42:44 22     you a revised version of the article?
15:43:02 23           A.   To which e-mail are you pointing?
15:43:05 24           Q.   I'm looking at the one that is second
15:43:07 25     from the bottom.

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15:43:09   1                "See attached the edited article.
15:43:11   2    As you can see, we processed all comments."
15:43:15   3                From Mr. Modderkolk to you.
15:43:18   4           A.   (Examining.) Okay. And your question
15:43:19   5    is if -- if --
15:43:20   6           Q.   I was just asking if is it your
15:43:23   7    understanding that this is all part of the
15:43:26   8    same discussion of the edited article?
15:43:27   9           A.   Yes.
15:43:28 10                 MS. SCHARY: Okay. And I'm going
15:43:29 11     to add to my requests on the record for the --
15:43:31 12     the e-mail just above that, January 18th at
15:43:35 13     1:28 p.m. Mr. Steman says:
15:43:38 14                 "See document attached. Turned on
15:43:39 15     track changes."
15:43:41 16                 We'd like to have that document with
15:43:42 17     its attachment produced.
15:43:45 18                 MR. GURVITS: What's the Bates number
15:43:46 19     of the document?
15:43:46 20                 MS. SCHARY: It's at 540 -- it's --
15:43:47 21     the document begins at 545. But it's on page
15:43:50 22     546.
15:44:08 23                 MR. GURVITS: I see it.
15:44:13 24            Q.   BY MS. SCHARY: And do you recall
15:44:13 25     a dispute with de Volkskrant regarding whether

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15:44:18   1    Dutch banks had withdrawn financing from
15:44:23   2    Webzilla following the article?
15:44:27   3         A.    Can you clarify that question? How
15:44:30   4    do you mean "dispute"?
15:44:31   5         Q.    I'm going to direct you to the second
15:44:33   6    e-mail in this chain.
15:44:35   7         A.    Yeah.
15:44:35   8         Q.    This is an e-mail from de Volkskrant
15:44:41   9    in which they say in the -- it looks like the
15:44:43 10     third paragraph -- or fourth paragraph:
15:44:46 11                "And closer examination reveals that
15:44:47 12     the two Dutch banks haven't withdrawn, as was
15:44:51 13     asserted during the interview."
15:45:20 14          A.    The second e-mail you're talking about?
15:45:22 15          Q.    Yes. I'm referring to the e-mail from
15:45:24 16     Mr. Modderkolk. If you look at the bottom of
15:45:27 17     545, the last line there, it says:
15:45:30 18                "And closer examination reveals that
15:45:32 19     the two Dutch banks haven't withdrawn, as was
15:45:35 20     asserted during the interview."
15:45:37 21                And I'm specifically referring to the
15:45:39 22     English translation.
15:45:40 23          A.    And your question is?
15:45:42 24          Q.    My -- I was -- my question is whether
15:45:43 25     this document refreshes your recollection that

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15:45:45   1    there was back-and-forth regarding whether two
15:45:49   2    Dutch banks had withdrawn financing from Webzilla
15:45:54   3    following publication of the Buzzfeed article?
15:46:06   4         A.    Just so that I understand it, so you
15:46:09   5    ask me if this is a discussion (unintelligible)
15:46:12   6    if it is true "yes" or "no"?
15:46:14   7               Is that the question or --
15:46:14   8         Q.    I'm sorry. I didn't --
15:46:14   9               THE COURT REPORTER: Yeah. I didn't
15:46:14 10     get that either.
15:46:17 11                THE WITNESS: No. Oh, sorry.
15:46:17 12                What is the question? Is the question
15:46:19 13     did we argue with de Volkskrant about that part
15:46:22 14     that I -- I mean, I'm lost.
15:46:25 15          Q.    BY MS. SCHARY: I'm just trying -- I'm
15:46:26 16     just trying to set some context here since you
15:46:30 17     hadn't recalled some of our conversations. But
15:46:31 18     let me get at this a different way.
15:46:33 19                If you go to the top e-mail --
15:46:36 20          A.    Yeah.
15:46:36 21          Q.    -- it refers to you having reviewed
15:46:39 22     a tape of the interview.
15:46:40 23                Do you recall reviewing an audio tape
15:46:43 24     of the interview with Mr. Gubarev?
15:46:45 25          A.    Yeah, we had -- there is a tape.

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15:46:47   1    That's for sure. Yes.
15:46:48   2         Q.    Do you recall reviewing that tape?
15:46:51   3         A.    Reviewing?
15:46:51   4         Q.    Listening to it.
15:46:53   5         A.    Oh. We reviewed that tape.
15:46:55   6         Q.    Okay. Did you -- do you recall listening
15:46:57   7    to that tape to determine whether Mr. Gubarev had
15:47:03   8    said that two banks withdrew financing?
15:47:21   9         A.    So the question is if was that told
15:47:23 10     during the interview "yes" or "no"; right? I
15:47:26 11     mean, it's --
15:47:30 12          Q.    Do you have an independent recollection --
15:47:31 13     not looking at the document.
15:47:33 14                Do you have an independent recollection
15:47:35 15     of listening to Mr. Gubarev's interview to determine
15:47:39 16     whether he said that two banks -- two Dutch banks
15:47:45 17     withdrew financing from him?
15:47:49 18          A.    That was told during the interview.
15:47:52 19          Q.    That was said during the interview?
15:47:54 20          A.    Yeah.
15:47:54 21          Q.    Okay. I'm going to look -- I'm directing
15:47:57 22     you to this e-mail.
15:47:58 23          A.    Yeah.
15:47:59 24          Q.    Do you see that, in this e-mail, you tell
15:48:01 25     Mr. de Vries, Mr. Hellegers, and Mr. Gubarev that

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15:48:04   1    you just replayed the interview in response to the
15:48:09   2    e-mail from de Volkskrant?
15:48:12   3                It's the top e-mail here.
15:48:14   4           A.   Oh, sorry. So yes. What's --
15:48:22   5           Q.   Okay. And do you see that you transcribed
15:48:27   6    the -- what was said on -- in the interview?
15:48:30   7           A.   Uh-huh. Yes.
15:48:32   8           Q.   And you concluded that what Mr. Gubarev
15:48:35   9    said to the reporter equated to the banks putting
15:48:44 10     his loans on hold and not canceling them; correct?
15:48:51 11            A.   Let me read it again. (Examining.)
15:48:53 12     Yes. That's standing there. Yes.
15:49:03 13            Q.   Okay. So it's your understanding that
15:49:05 14     Mr. Gubarev told the reporters that his loans
15:49:09 15     were on hold, not that they were canceled?
15:49:14 16                 MR. GURVITS: Objection.
15:49:18 17                 THE WITNESS: Based on this e-mail,
15:49:19 18     yes.
15:49:19 19            Q.   BY MS. SCHARY: Okay. And just look
15:49:34 20     at -- quickly at Exhibit 21.
15:49:38 21            A.   Yes. (Examining.)
15:49:38 22            Q.   And I'm only going to ask you about the
15:49:41 23     English portion. You say:
15:49:49 24                 "About the banks: It's how you interpret
15:49:51 25     things in my eyes. We will not provide them

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15:49:53   1    additional information about this."
15:49:56   2               Do you see that?
15:49:56   3         A.    I see that.
15:49:57   4         Q.    Okay. What did you mean by:
15:49:59   5               "It's how you interpret things in my
15:50:01   6    eyes."
15:50:02   7         A.    Then I have to read the whole story
15:50:04   8    again.
15:50:05   9         Q.    Okay.
15:50:06 10          A.    And also the article referring to this,
15:50:10 11     because I don't know. (Examining.)
15:50:11 12                So what was the question?
15:51:55 13          Q.    The question was what you meant by --
15:51:57 14     when you said it's:
15:51:57 15                "About the banks: It's how you interpret
15:51:59 16     things in my eyes."
15:52:00 17          A.    The -- I don't know. No, I don't know.
15:52:14 18     No, I don't know.
15:52:14 19                MS. SCHARY: Okay. I'm going to mark
15:52:24 20     Exhibit 23, which is Bates stamp P-P 595. And
15:52:37 21     this is also a 23A and B.
15:53:04 22                (Exhibit 23A and Exhibit 23B marked.)
15:53:08 23          Q.    BY MS. SCHARY: I'm going to direct
15:53:11 24     your attention to the bottom e-mail, which is
15:53:13 25     from you to Jack de Vries.

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15:53:19   1         A.     (Examining.) Oh, sorry. Yes.
15:53:20   2         Q.     And you say:
15:53:21   3                "Attached" --
15:53:21   4                And I'm referring to the English
15:53:23   5    translation. You're attaching an article
15:53:25   6    that was amended. And you just say:
15:53:27   7                "We just received feedback from
15:53:29   8    the journalist with the Wall Street Journal
15:53:31   9    who was also at the meeting."
15:53:32 10          A.     Uh-huh.
15:53:32 11          Q.     Do you recall receiving feedback
15:53:34 12     from a Wall Street Journal reporter regarding
15:53:35 13     the interview?
15:54:14 14          A.     I -- they are stating that we received
15:54:14 15     feedback. But I'm not sure if I received the
15:54:18 16     feedback.
15:54:19 17          Q.     Do you recall reviewing any feedback
15:54:23 18     from a Wall Street Journal reporter?
15:54:31 19          A.     I'm stating that we don't have any --
15:54:33 20     that I just wrote the facts.
15:54:40 21          Q.     I understand what the e-mail says.
15:54:42 22                 I'm asking you if you have any
15:54:44 23     recollection of reviewing feedback from a
15:54:44 24     Wall Street Journal reporter regarding the
15:54:48 25     interview with Mr. Gubarev?

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15:54:49   1         A.    Not that I'm -- I don't know.
15:54:51   2               MS. SCHARY: Okay. We do not have
15:54:52   3    this -- any e-mail transmitting feedback from
15:54:54   4    a Wall Street Journal reporter. So we'd like
15:54:58   5    to call for that to be searched for and produced,
15:55:01   6    as well as the bottom e-mail here which refers
15:55:05   7    to an amended article attached.
15:55:13   8               Okay. I'm going to mark as Exhibit
15:55:14   9    24 -- 24A and B -- this is a news article from
15:55:30 10     de Volkskrant that was published as a date of
15:55:33 11     January 19, 2017.
15:55:37 12                (Exhibit 24A and Exhibit 24B marked.)
15:56:11 13          Q.    BY MS. SCHARY: Mr. Steman, do you
15:56:12 14     recall seeing this interview -- sorry -- receiving
15:56:14 15     this article when it was published?
15:56:20 16          A.    (Examining.) Sorry. I missed your
15:56:23 17     question. Did I see this article when it was
15:56:26 18     published?
15:56:26 19          Q.    Yes.
15:56:27 20          A.    Yes.
15:56:27 21          Q.    "Yes"?
15:56:29 22          A.    Yes. Let's see.
15:56:47 23          Q.    Did you receive a draft version of
15:56:49 24     this article before it was published?
15:56:56 25          A.    No.

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15:57:05   1         Q.    I'm going to have you hold on to that.
15:57:09   2         A.    Okay.
15:57:19   3               MS. SCHARY: Okay. And I'm going to
15:57:20   4    mark as Exhibit 25 a document that was actually
15:57:30   5    produced in native form. So it does not have
15:57:36   6    an actual Bates number but an internal tracking
15:57:39   7    number. This is going to be Exhibit 25A and B.
15:57:42   8    It has an internal tracking number of PL_H_000042.
15:58:27   9               (Exhibit 25A and Exhibit 25B marked.)
15:58:32 10          Q.    BY MS. SCHARY: Now, I'm going to direct
15:58:34 11     you to the e-mail -- it's on the one, two, three --
15:58:38 12     begins on the third page, goes on to the fourth
15:58:42 13     page, January 20th at 6:33 a.m.
15:58:59 14          A.    (Examining.) Oh, yeah.
15:58:59 15          Q.    Do you see that you told Mr. Modderkolk
15:59:02 16     that you believe there is inaccuracy in that the
15:59:07 17     article wrote that Michael Dell got in touch with
15:59:12 18     Webzilla over the -- because of the dossier?
15:59:16 19          A.    Uh-huh.
15:59:17 20          Q.    Do you recall having this conversation
15:59:18 21     with Mr. Modderkolk?
15:59:19 22          A.    No. I shared this with maybe de
15:59:23 23     Volkskrant.
15:59:24 24          Q.    Okay. And looking back at Exhibit 24 --
15:59:28 25          A.    Yeah.

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15:59:29   1         Q.    -- on the second page under -- and I'm
15:59:30   2    looking in the English translation -- under:
15:59:34   3               "Damage."
15:59:34   4         A.    Yeah.
15:59:35   5         Q.    Is that the line that you're referring
15:59:38   6    to, the second sentence there:
15:59:39   7               "For example, he states that Michael
15:59:41   8    Dell, from computer colossus Dell is demanding
15:59:44   9    a personal conversation to learn more about
15:59:46 10     Webzilla's role."
16:00:07 11          A.    So my reply was on that e-mail, yes --
16:00:09 12     on this article, yes.
16:00:11 13          Q.    Is it -- is it regarding that article --
16:00:13 14          A.    Yes.
16:00:13 15          Q.    -- my question is? Okay.
16:00:16 16                And to be clear, you -- it's your
16:00:19 17     understanding that Michael Dell did not contact
16:00:22 18     Webzilla about the dossier but about congratulations
16:00:26 19     on a 10-year anniversary?
16:00:29 20          A.    At that moment, yes.
16:00:29 21          Q.    Is there another moment that might --
16:00:30 22          A.    I don't know. So I can only speak
16:00:31 23     of that moment.
16:00:32 24          Q.    Okay. So you're only understanding
16:00:35 25     of the communication from Michael Dell is

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16:00:37   1    regarding the 10-year anniversary?
16:00:40   2         A.    Yes.
16:00:44   3         Q.    Going to the top of Exhibit 25,
16:00:45   4    the second e-mail which is from you to Jack --
16:00:55   5         A.    Uh-huh.
16:00:55   6         Q.    -- and cc'ing Alex, in the second
16:00:58   7    paragraph, you say:
16:01:00   8               "Understand that the Volkskrant
16:01:03   9    now wants to publish another story concerning
16:01:04 10     Webzilla: The incident with LeaseWeb. They've
16:01:07 11     requested an interview with an ex-employee of"
16:01:11 12     lease -- "LeaseWeb. We have advised him not
16:01:13 13     to get mixed up in the Webzilla case." (As
16:01:16 14     read.)
16:01:16 15                What did you mean by the "incident
16:01:18 16     with LeaseWeb"?
16:01:21 17          A.    There was an -- what I understood --
16:01:23 18     because I don't know the case, I don't know
16:01:26 19     the details of the case. But there was an
16:01:28 20     arguing between the two -- the two companies.
16:01:29 21     So -- and more information I don't have about
16:01:33 22     that case. So I don't know.
16:01:34 23          Q.    And what was the nature of the argument
16:01:36 24     between the two companies?
16:01:37 25          A.    I don't know.

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16:01:41   1           Q.   How did you know that de Volkskrant
16:01:44   2    had requested an interview with an ex-employee
16:01:48   3    of LeaseWeb?
16:01:59   4           A.   I don't know. I don't know. No,
16:02:09   5    I don't know. I don't know.
16:02:10   6           Q.   Do you know who that ex-employee
16:02:13   7    was?
16:02:13   8           A.   No.
16:02:14   9           Q.   And were you involved -- did you
16:02:15 10     advise that ex-employee not to get mixed up
16:02:20 11     in the Webzilla case?
16:02:24 12            A.   No, because I don't know the person.
16:02:25 13     So no, I didn't advise anyone.
16:02:29 14            Q.   Well, you told Jack de Vries in this
16:02:29 15     e-mail -- you said:
16:02:30 16                 "We have advised him not to get" mixed
16:02:33 17     up -- "mixed up in the Webzilla case." (As read.)
16:02:34 18                 So what was your basis for making that
16:02:36 19     statement to Jack?
16:02:37 20            A.   Basic -- prob -- probably only internal
16:02:39 21     information. But I don't know from who. So for
16:02:41 22     that reason, I cannot also -- also not answer
16:02:44 23     the earlier question. So I don't know.
16:02:52 24                 MS. SCHARY: I'm going to mark as
16:02:53 25     Exhibit 26 a document Bates stamp P-P 640.

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16:03:25   1                (Exhibit 26 marked.)
16:03:25   2                THE WITNESS: Thank you.
16:03:30   3           Q.   BY MS. SCHARY: This is an e-mail from
16:03:31   4    you to Mr. Gubarev on January 18th in which you
16:03:38   5    link to an article that I will represent is the --
16:03:40   6    the doc -- the article we were just looking at
16:03:43   7    at Exhibit 24 --
16:03:45   8           A.   (Examining.) Okay.
16:03:46   9           Q.   -- just based on the -- on the headline.
16:03:48 10                 And you say that:
16:03:49 11                 "They changed the story."
16:03:50 12            A.   Uh-huh.
16:03:51 13            Q.   Do you recall sending this e-mail?
16:03:53 14            A.   No, I sent this e-mail.
16:03:55 15            Q.   Okay. Do you -- do you recall what
16:03:57 16     the change made to the story was?
16:03:59 17            A.   There is another story on the website.
16:04:02 18     Yes.
16:04:03 19            Q.   There was another story on the website
16:04:03 20     besides --
16:04:03 21            A.   Before -- yes, there -- there's another
16:04:06 22     story. This -- there is another story.
16:04:09 23            Q.   A totally separate story? Or there
16:04:12 24     was a different version of the story that is
16:04:14 25     in Exhibit 24?

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16:04:19   1          A.   Now, this is probably the link.
16:04:20   2    I don't know if it is the same document.
16:04:31   3          Q.   Well, if we just look at the headline --
16:04:33   4    see the headline in Exhibit 24?
16:04:37   5          A.   Yeah. But if I check, the URL is
16:04:40   6    different. So I don't -- I cannot confirm
16:04:42   7    that this -- that this -- these two are the
16:04:42   8    same document.
16:04:44   9          Q.   Okay. Do you have any recollection
16:04:48 10     of what changes were made to the article that
16:04:52 11     you were advising Mr. Gubarev of?
16:04:57 12           A.   Based on this, no.
16:04:58 13           Q.   Okay.
16:04:58 14                (Court reporter clarification.)
16:04:58 15                THE WITNESS: Based on this information,
16:04:58 16     no.
16:04:59 17                MS. SCHARY: Okay. Let's take a short
16:05:01 18     break.
16:05:02 19                THE WITNESS: Okay.
16:05:02 20                THE VIDEOGRAPHER: Going off the record
16:05:03 21     at 4:04.
16:05:06 22                (Recess from 4:04 p.m. to 4:13 p.m.)
16:13:34 23                THE VIDEOGRAPHER: Back on the record
16:13:35 24     at 4:13.
16:13:37 25                MS. SCHARY: Thank you, Mr. Steman.

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16:13:38   1    I have no further questions.
16:13:41   2               MR. GURVITS: Objection.
16:13:41   3               THE WITNESS: Thank you.
16:13:42   4               MR. GURVITS: And he drops the mike.
16:13:47   5               THE VIDEOGRAPHER: Going off -- this
16:13:47   6    is the end of -- this is the end of the video
16:13:56   7    deposition of Jochem Steman. Going off the
16:13:59   8    record at 4:13.
           9               (The deposition concluded at 4:13 p.m.)
           10
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    1                     CERTIFICATE OF WITNESS
    2
    3               I, JOCHEM STEMAN, witness herein,
    4    do hereby certify and declare the within and
    5    foregoing transcription to be my examination
    6    under oath in said action taken on May 16,
    7    2018, with the exception of the changes
    8    listed on the errata sheet, if any;
    9               That I have read, corrected, and
   10    do hereby affix my signature under penalty
   11    of perjury to said examination under oath.
   12
   13
   14
   15
   16    ___________________________________        ____________
                JOCHEM STEMAN, Witness                  Date
   17
   18
   19
   20
   21
   22
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   24
   25

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    1                    CERTIFICATE OF REPORTER
    2
    3               I, BRENDA MATZOV, CA CSR 9243, do hereby
    4    certify:
    5               That, prior to being examined, the witness
    6    named in the foregoing deposition was duly sworn
    7    by me to testify the truth, the whole truth, and
    8    nothing but the truth;
    9               That the foregoing deposition was taken
   10    before me at the time and place herein set forth,
   11    at which time the aforesaid proceedings were
   12    stenographically recorded by me and thereafter
   13    transcribed by me;
   14               That the foregoing transcript, as
   15    typed, is a true record of the said proceedings;
   16               And I further certify that I am not
   17    interested in the action.
   18
   19               Dated this 16th day of May, 2018.
   20
   21               _________________________________________
                    BRENDA MATZOV, CA CSR 9243
   22
   23
   24
   25

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    1                          ERRATA SHEET
    2    Case:      ALEKSEJ GUBAREV, ET AL. vs. BUZZFEED,
    3               INC., ET AL.
    4    Date:      MAY 16, 2018
    5    Witness: JOCHEM STEMAN
    6
    7    Page _____ Line _____ Change _______________________
    8    Reason _____________________________________________
    9    Page _____ Line _____ Change _______________________
   10    Reason _____________________________________________
   11    Page _____ Line _____ Change _______________________
   12    Reason _____________________________________________
   13    Page _____ Line _____ Change _______________________
   14    Reason _____________________________________________
   15    Page _____ Line _____ Change _______________________
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   18    Reason _____________________________________________
   19    Page _____ Line _____ Change _______________________
   20    Reason _____________________________________________
   21    Page _____ Line _____ Change _______________________
   22    Reason _____________________________________________
   23
   24    ___________________________________        ______________
                JOCHEM STEMAN, Witness                   Date
   25

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